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                   UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                        GAINESVILLE DIVISION
         -------------------------------x
         FAIR FIGHT, INC., SCOTT BERSON,:
         JOCELYN HEREDIA, and JANE DOE, :
                                        :
                      Plaintiffs,       :
                                        :
                vs.                     :
                                        :     Case No.
         TRUE THE VOTE, CATHERINE       :
         ENGELBRECHT, DEREK SOMERVILLE, : 2:20-cv-00302-SCJ
         MARK DAVIS, MARK WILLIAMS,     :
         RON JOHNSON, JAMES COOPER, and :
         JOHN DOES 1-10,                :
                                        :
                      Defendants.       :
                                        :
         FAIR FIGHT ACTION, INC.,       :
                                        :
                     Counter-Defendant. :
         --------------------------------x

                     VIRTUAL VIDEOTAPED DEPOSITION OF
                               MARK A. DAVIS
                        Wednesday, January 19, 2022
                      9:05 a.m. Eastern Standard Time

         REPORTER: Dawn A. Jaques, CSR, CLR
         __________________________________________________
                          DIGITAL EVIDENCE GROUP
                      1730 M Street, NW, Suite 812
                         Washington, D.C. 20036
                             (202) 232-0646


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   1     APPEARANCES:
   2     On behalf of the Plaintiffs:
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                JOEL RAMIREZ, ESQ.
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 20
 21      VIDEOGRAPHER AND EXHIBIT TECHNICIAN:
 22             Mitchell Mahon, Digital Evidence Group


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   1                          P R O C E E D I N G S

   2                       THE VIDEOGRAPHER:                We are going on the

   3     record.      This is Tape No. 1 of the videotaped

   4     deposition of Mark Davis, taken by Plaintiffs in

   5     the matter of Fair Fight, Inc., et al., vs. True

   6     the Vote, in the United States District Court for

   7     the Northern District of Georgia, Gainesville

   8     Division, Case No. 2:20-cv-00302-SCJ.

   9                       This deposition is being held remotely

 10      over Zoom videoconference on January 19th, 2022.

 11      The time on the video screen is 9:05 a.m.

 12                        My name is Mitchell Mahon; I am the

 13      legal videographer from DEG.                     The court reporter

 14      is Dawn Jaques, in association with Digital

 15      Evidence Group.

 16                        Will counsel please introduce

 17      themselves for the record?

 18                        MS. MENG:          Good morning, everyone.         My

 19      name is Tina Meng on behalf of Plaintiffs, Elias

 20      Law Group.

 21                        MS. FORD:          I'm Christina Ford, also

 22      with Elias Law Group on behalf of Plaintiffs, but



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   1     I will not be speaking today.

   2                       THE VIDEOGRAPHER:                Will the court

   3     reporter please swear in the witness?

   4                       MS. SIEBERT:            Melena Siebert on behalf

   5     of Defendants today.               And I believe there is one

   6     more attorney for Plaintiffs.

   7                       THE VIDEOGRAPHER:                They might be

   8     muted.

   9                       THE REPORTER:             Ms. Cogen, did she

 10      state hers?

 11                        MS. COGEN:           Yes, Maia Cogen for

 12      Plaintiffs today.

 13                        THE REPORTER:             Would you raise your

 14      right hand to be sworn, please?

 15            (The witness was administered the oath.)

 16      Whereupon,

 17                                  MARK A. DAVIS,

 18                was called as a witness, after having been

 19                first duly sworn by the Notary Public,

 20                was examined and testified as follows:

 21

 22



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                                                                                     Page 7
   1           EXAMINATION BY COUNSEL FOR THE PLAINTIFFS

   2                       BY MS. MENG:

   3               Q       Good morning, Mr. Davis.                        How are you?

   4               A       Good morning.             I'm all right.            How

   5     about yourself?

   6               Q       Good.       So my name is Tina Meng, as I

   7     said before, and I represent the Plaintiffs in

   8     this case.

   9                       Just for the record, would you state

 10      your full name and address?

 11                A       Mark Allen Davis, 325 Wesfork,

 12      W-E-S-F-O-R-K -- there's no T in there -- Way,

 13      Suwanee, Georgia, S-U-W-A-N-E-E, 30024.

 14                Q       Great.       And I know, you know, this is

 15      the second time that you've been deposed for this

 16      case, but just as a refresher, I'd like to go over

 17      some of the ground rules for the deposition so

 18      we're all on the same page.

 19                        All the testimony today is under oath

 20      just as you were testifying in court.

 21                        Does that make sense to you?

 22                A       Yes, it does.



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                                                                             Page 8
   1               Q       Great.       So for the benefit of everyone

   2     and the court reporter, especially since we're all

   3     remote, please make sure to answer audibly.                       Head

   4     shakes and nods are hard to put on the record, so

   5     a yes or no or a spoken answer would be most

   6     helpful.

   7                       Please allow me to finish my question

   8     before giving your answer, and I'll do the same

   9     when you're responding.                 Again, this is for a

 10      clear transcript and for the record.

 11                        Does that sound good to you?

 12                A       Mm-hmm.        Yes, it does.

 13                Q       Great.       From time to time, your

 14      attorney may make an objection to a question that

 15      I ask, and that's fine, but you are to answer

 16      unless she specifically instructs you not to

 17      answer based on a topic of privilege.

 18                        Does that make sense as well?

 19                A       Yes, it does.

 20                Q       Great.       So if at any point you do not

 21      understand a question that I'm asking, will you

 22      please let me know?



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   1               A       Yes, I will.

   2               Q       Okay.       I will do my best to rephrase

   3     or otherwise clarify, and I will assume that if

   4     you answer a question, the question makes sense to

   5     you.     Is that fair?

   6               A       Yes.

   7               Q       Great.       Now, if at any time you'd like

   8     a break, please let me know.                     I'll try to find a

   9     good place to stop and we can go off the record

 10      for a few minutes.

 11                        The only exception to that is if I've

 12      asked you a question, I please just ask that you

 13      answer the question before taking a break.

 14                        Sound good?

 15                A       Yes.

 16                Q       Now, what address are you located at

 17      for this deposition?

 18                A       325 Wesfork Way, Suwanee, Georgia

 19      30024.

 20                Q       Okay.       And how are you viewing this

 21      deposition?         Is it by laptop, or monitor with a

 22      video camera?



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                                                                            Page 10
   1               A       I have a desktop with two screens.                 So

   2     if you see me looking left and right, that's why.

   3               Q       Sure.       And do you have any documents

   4     with you, either hard copies or electronic?

   5               A       I do not.          The only thing on my desk

   6     is some paperwork and some unopened mail.

   7               Q       Sounds good.

   8                       And is anyone in the room with you

   9     right now?

 10                A       No.     I do have a wife working

 11      upstairs, and a stepdaughter who I believe is

 12      asleep in her bedroom.

 13                Q       Great.       We'll try not to bother her

 14      then.

 15                        Because we're taking the deposition

 16      remotely, I may not always be able to see who is

 17      entering the room or in front of you, so do you

 18      understand that it would not be appropriate for

 19      you -- for your attorney or anyone else to tell

 20      you how to answer a question I ask you today?

 21                A       Yes.

 22                Q       Great.       And do you agree that while



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   1     you're testifying, you will not exchange

   2     communications -- whether by text, email, or other

   3     messaging -- to anyone else about how to answer a

   4     question today?

   5               A       Yes.

   6               Q       Great.       If you don't have any other

   7     questions for me, I think we can get started.

   8               A       Okay.

   9               Q       Great.       Mitch, do you mind pulling up

 10      Exhibit A and mark it as Exhibit 1 for me?

 11                        (Davis Exhibit 1 was marked

 12                          for identification.)

 13                        BY MS. MENG:

 14                Q       Mr. Davis, do you recognize this

 15      document?

 16                A       I don't, but it appears to be notice

 17      of this deposition.

 18                Q       Yes.      I believe this is a notice to

 19      take the deposition of you, noted for

 20      January 19th, 2022, to begin at 9:00 a.m.

 21                        Are you prepared to testify today?

 22                A       I am.



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                                                                            Page 12
   1               Q       Great.       Now, without disclosing any

   2     specific communications you may have had with your

   3     lawyers, can you describe at a high level what you

   4     did to prepare for today?

   5               A       Reviewed discovery documents that I

   6     provided to you.            That's all I can think of

   7     really.

   8               Q       Okay.       Mitch, you can take that

   9     exhibit down.

 10                        So Mr. Davis, I'd like to ask you a

 11      few questions about the process to search and

 12      produce documents for today.

 13                        So, Mitch, if you could pull up

 14      Exhibit B, which we can mark as Exhibit 2.

 15                        (Davis Exhibit 2 was marked

 16                          for identification.)

 17                        BY MS. MENG:

 18                Q       Great, thank you.

 19                        Mr. Davis, do you recognize this

 20      document?

 21                A       Yes.

 22                Q       Okay.       And you've seen it before?



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                                                                                  Page 13
   1               A       Yes.

   2               Q       So just to identify this, do you agree

   3     that this is a Plaintiffs' First Requests for

   4     Production to you?

   5               A       I'd have to go back and compare them,

   6     but it appears to be.

   7               Q       Yeah.       So just for the record, I think

   8     in the title of the document it says "First

   9     Requests."        Do you see that at the top there?

 10                A       Excuse me?

 11                Q       At the top, I think it says

 12      "Plaintiffs' First Requests for Production to

 13      Defendant Mark Davis," the title of the document.

 14                A       Okay.

 15                Q       Great.       Thank you, Mitch.                  Can you

 16      pull up Exhibit C and mark it as Exhibit 3?

 17                        (Davis Exhibit 3 was marked

 18                          for identification.)

 19                        BY MS. MENG:

 20                Q       So Mr. Davis, do you recognize this

 21      document?

 22                A       Yes.



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                                                                             Page 14
   1               Q       Okay.       And you've seen it before?

   2               A       I believe so.

   3               Q       Okay.       And this, according to the

   4     title of the document, do you agree that it's the

   5     Plaintiffs' Second Requests for Production to you,

   6     Mark Davis?

   7               A       That's what it appears to be.

   8               Q       Okay.       Great, thank you.

   9                       Mitch, you can take that exhibit down.

 10      Thank you.

 11                        Now, Mr. Davis, how did you search for

 12      and identify documents that were responsive to the

 13      two requests for production that you just saw?

 14                A       I thought through the requests, went

 15      over them with my attorney, and then with whatever

 16      was appropriate, I went looking for responsive

 17      documents to provide.

 18                Q       Okay.       And when did you undertake the

 19      search for documents?

 20                A       It's been some time.                  I don't recall

 21      specifically.

 22                Q       Okay.       And do you remember how long



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   1     the search took in terms of hours, days, weeks?

   2               A       It depends on which search we're

   3     talking about.          The way that certain requests were

   4     defined in the original request, there was a lot

   5     that didn't appear relevant.

   6                       There was language used in the

   7     definitions linking the requests to being in the

   8     context of True the Vote, and there was later a

   9     hearing with the judge to determine how that was

 10      to be interpreted, I suppose.

 11                        And then this latest hearing that we

 12      had, the judge, I believe, ruled that a lot of the

 13      stuff that we did not think was within the scope

 14      of the original requests should be viewed in that

 15      context, and I was asked to go back and redo some

 16      of that stuff.

 17                        I wasn't given a great deal of time to

 18      do that, and I had a lot of work to do and we had

 19      holidays going on, so I devoted as much time as I

 20      could to it, but I really didn't have a lot of

 21      time available to devote to it, so I did the best

 22      that I could to try to deliver responsive



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   1     documents to you.

   2               Q       That makes sense.

   3                       And can you just briefly describe the

   4     process you took in terms of, you know, where you

   5     might have looked for documents?

   6               A       Depends on the question.                        Some of

   7     those questions were very broad, and I did the

   8     best that I could to review computer files,

   9     databases, source files from various places,

 10      emails, et cetera.

 11                        It really depends on the question, I

 12      suppose.

 13                Q       Great, okay.            But in general, you

 14      looked at your computer, devices that you have,

 15      things that you had access to and communicate on;

 16      is that correct?

 17                A       I looked wherever was appropriate in

 18      the context of the question.

 19                Q       Okay.       And did anyone else help you in

 20      any way with searching for documents?

 21                A       No.

 22                Q       Okay.       Have you withheld any documents



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   1     for any reason from production?

   2               A       It depends, again, on the context of

   3     the question.

   4               Q       And by question, you're referring to

   5     the requests for production?

   6               A       Each of the requests, right.

   7               Q       Okay.       And can you just elaborate a

   8     little bit on, you know, what the general

   9     parameters were that you might have withheld

 10      documents based on the production requests?

 11                A       Some weren't relevant to the question

 12      asked.      And again, as I said earlier, a lot of the

 13      definitions that were in the original requests

 14      asked for, for example, communications relating to

 15      the challenge that I and True the Vote worked on,

 16      and we didn't -- we didn't get involved with

 17      True the Vote's challenge.                    They did that all on

 18      their own.        That was their own effort.

 19                        So a lot of the questions, the way the

 20      definitions were provided and the way the

 21      questions were asked, there were some documents

 22      that just didn't have anything to do with



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   1     answering that question in the context in which it

   2     was asked.

   3               Q       Okay.       Were there any documents,

   4     records, or communications that you believed were

   5     covered by the requests for production that

   6     perhaps you couldn't find?

   7               A       Yes.      There were some -- there were

   8     some text messages that I deleted prior to the

   9     lawsuit, and then after the judge's most recent

 10      interpretation of the scope of the requests, I did

 11      go looking for some that I recalled in my mind

 12      that I could not locate.                  So there were some.

 13                        Some of those have been produced from

 14      other sources, so they are available now, but

 15      there were a couple that come to mind.

 16                        One was a text message thread between

 17      Derek Somerville and I, and another was a text

 18      message exchange between Catherine at

 19      True the Vote that I could not locate either.

 20                        I get a lot of junk texts and a lot of

 21      junk email, and I do my best to try to keep that

 22      cleaned out on a regular basis, otherwise it piles



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   1     up and just gets unmanageable, and it's possible

   2     that I may have accidentally deleted those when I

   3     was cleaning out text messages at some point last

   4     year.     I'm not sure.            All I know is I could not

   5     locate some of them.

   6               Q       Okay.       And so you referred to two

   7     specific communications that you don't recall --

   8     or that you weren't able to find.

   9                       Could you just explain or elaborate,

 10      based on your memory of those communications, what

 11      were contained in those text messages?

 12                A       Well, there was a thread between Derek

 13      Somerville and I that touched on a lot of topics,

 14      and I'm aware that it's been disclosed, so I would

 15      imagine that we'll be reviewing that today.

 16                        There was also a text message that I

 17      had exchanged with Catherine in relation to the

 18      launch of a website that was being discussed, and

 19      I believe that that text exchange led to a phone

 20      call, a brief phone call, where I expressed those

 21      concerns.

 22                        Those are the only two that



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   1     immediately come to mind.

   2               Q       Okay.       And do you know when that phone

   3     call took place?

   4               A       I don't recall, but I believe that

   5     that may be in the text messages between Derek and

   6     I, which I think you guys have a copy of.

   7               Q       Okay.       So soon thereafter about that

   8     text message did --

   9               A       Around that time that the text message

 10      occurred.

 11                Q       Okay.       And you had mentioned that you

 12      routinely delete communications, emails, texts and

 13      things like that.

 14                        On what regular basis are you deleting

 15      things on devices?

 16                A       I don't have any set schedule.                  Well,

 17      I get a lot of texts and emails that are -- for

 18      example, there are certain accounts, when I log

 19      in, I get a confirmation, text message or email.

 20                        When I process National Change of

 21      Address processing for a customer, I'll get

 22      notices that it's been received and been returned,



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   1     and when I log in to different places, I'll get

   2     confirmations.          And I try to almost immediately

   3     clean those out when they come in because there's

   4     just no reason for me to keep them.

   5                       Or as another example, if I get an

   6     email from somebody or a text message from

   7     somebody saying, hey, can you give me a call when

   8     you get a minute?             You know, as soon as I pick up

   9     the phone and do that, I'll normally just delete

 10      the text because it's no longer needed.

 11                        So I don't have any real set schedule

 12      or anything, but I do try to keep junk cleaned out

 13      as much as I can because it stacks up and gets

 14      into the hundreds or thousands if I don't.

 15                Q       Okay.       And can you describe how the

 16      text message thread with Mr. Davis might have

 17      fallen into that criteria for how you clear out

 18      your messages?

 19                A       You mean Mr. Somerville?

 20                Q       Oh, yes, sorry.

 21                A       Well, the messages that we exchanged

 22      early on, at some point I just didn't feel like



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                                                                            Page 22
   1     they were relevant and I just, you know, wiped

   2     them out.       I didn't think I would need them again

   3     in the future.

   4                       The rest of the thread that happened

   5     after that point, I can only assume that I may

   6     have deleted it by accident at some point last

   7     summer or last fall, because when I went to look

   8     for it, it was not there.

   9               Q       And so just to clarify, do you use a

 10      phone device for your text messages?

 11                A       I do.

 12                Q       And is there like a trash folder or a

 13      deleted messages part of --

 14                A       Not that I'm aware of.

 15                Q       Sorry?

 16                A       Not that I'm aware of.

 17                Q       Okay.       And do you recall, I know you

 18      had said that perhaps some of these messages were

 19      deleted by accident.

 20                        Do you recall a time frame by which

 21      you would have gone into your phone and deleted

 22      things, and messages might have gotten erased that



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                                                                                  Page 23
   1     you didn't mean to?

   2               A       As I said, I think sometime last

   3     summer or last fall, I would imagine.                             I'm not at

   4     all sure.       I just don't know.

   5               Q       Okay.       And what about messages on

   6     other social media platforms, do you routinely go

   7     through and clear those out or delete them?

   8               A       Typically not.

   9               Q       Okay.       So Mr. Davis, I'd like to ask

 10      you a couple follow-up questions about how you

 11      conducted your analysis of the Georgia voter files

 12      last year.

 13                        Mitch, could you pull up Exhibit D and

 14      mark it as Exhibit 4, please?

 15                        (Davis Exhibit 4 was marked

 16                          for identification.)

 17                        MS. SIEBERT:            If possible, I'd like to

 18      lodge just a continuing objection, just for the

 19      record, to questions related to Mr. Davis's work

 20      that was not in conjunction with True the Vote,

 21      either for the runoff election or for the November

 22      election, just for the record.



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                                                                                  Page 24
   1                       Of course, we'll instruct him to

   2     answer, but if okay with you, I'd like to just

   3     lodge a continuing objection for the record.

   4                       MS. MENG:           Thank you, Melena, that's

   5     noted.        And I would say that these questions are

   6     based off of documents that were produced, and

   7     so --

   8                       MS. SIEBERT:             No, of course.          Of

   9     course.

 10                        BY MS. MENG:

 11                Q       So Mr. Davis, could you just take a

 12      moment a take a look at this document in front of

 13      you.     I believe it's an email chain, and it may be

 14      multiple pages, but I'd like to just focus you on

 15      the first page for now.

 16                A       Sorry, did you ask for a response?

 17                Q       Oh, no.         I just wanted you to review

 18      it, and let me know when you've had a chance to

 19      look it over.

 20                A       I recall this email.

 21                Q       Okay.        And do you agree that this is

 22      an e-mail chain between you and Mr. Somerville



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                                                                            Page 25
   1     about some efforts to begin analyzing data?

   2               A       Yes.      A discussion was had early on

   3     about replicating my work elsewhere, which is hard

   4     to do because not a lot of people do the kind of

   5     voter data analytics that I typically get involved

   6     with, but this effort was basically to try to

   7     replicate the NCOA processing that I did from

   8     another source just to give it added credibility,

   9     and this I believe was one of the initial emails

 10      where that was discussed.

 11                Q       Great.       So at the bottom of the first

 12      page, in the last two paragraphs, you write, "Our

 13      purpose here is to identify voters who moved

 14      across county lines."

 15                        And then in the paragraph following,

 16      you say, "This investigation has also revealed

 17      many out of state voters, presumably mostly

 18      students, military, but some of those are probably

 19      also illegitimate."

 20                        Did I read that correctly?

 21                A       Yes.

 22                Q       Okay.       And Mr. Davis, why did you



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                                                                            Page 26
   1     single out military voters here?

   2               A       Well, when you file a National Change

   3     of Address with the Postal Service, you have the

   4     option of classifying it as temporary or

   5     permanent, and when you're going to the beach for

   6     the summer or something like that, you know, say

   7     for six months, you can file a temporary change of

   8     address, and when you do that, they will forward

   9     your mail to the beach for you, but they won't

 10      turn around and tell the folks sending you that

 11      mail to update their database to your new address

 12      because it's filed as a temporary change of

 13      address.

 14                        So what tends to happen is, because

 15      you can't file a temporary change of address for

 16      longer than one year, people who are moving

 17      temporarily for longer than one year end up filing

 18      those changes of address as permanent changes of

 19      address when they leave, and then typically they

 20      will file another permanent change of address when

 21      they come back.

 22                        So a student going away for four years



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                                                                            Page 27
   1     of college or a member of the military going away

   2     for a tour of duty likely would file permanent

   3     changes of address when they leave and permanent

   4     changes of address when they come back, which

   5     makes them difficult to distinguish in the data.

   6               Q       Okay.       And you mentioned students as

   7     well, so --

   8               A       I'm sorry?

   9               Q       You mentioned students as well in this

 10      sentence and the answer that you just gave, so

 11      could you just clarify?                 When you noted that,

 12      presumably, mostly students and military are

 13      out-of-state voters, but some of those are

 14      probably also illegitimate, were you trying to

 15      convey that these student and military voters

 16      would be legitimate voters despite them being out

 17      of state?

 18                A       No.     In the situation where a person

 19      leaves the state temporarily, even if it does

 20      exceed the one year allowed by the Postal Service

 21      to file as a temporary change of address,

 22      a student or a member of the military who leaves



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                                                                            Page 28
   1     for some period of time intending to return,

   2     there's no issue with them voting.

   3               Q       Okay.       So in the eventual list of

   4     about 40,000 voter challenges that you and

   5     Mr. Somerville pulled together, were the names of

   6     voters who forwarded their -- were the names of

   7     voters who forwarded their mail to an address on a

   8     military base therefore excluded?

   9               A       Well, the number you're quoting --

 10      based on the number you're quoting, I think I need

 11      to draw some distinctions here.

 12                        That initial list that I output of

 13      40,100 something, I'd have to look at the count,

 14      that list I don't think is really relevant to this

 15      case.     That list was produced basically for the

 16      Trump attorneys and for me to continue as a

 17      starting point to work with.                     That was not used to

 18      challenge voters in the runoff election.

 19                        The selection criteria for that file,

 20      and the processing that I did for that file, were

 21      different.        So I just want to draw that

 22      distinction.



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                                                                               Page 29
   1               Q       Sure.       Thank you for that

   2     clarification.

   3                       So in the list that you eventually did

   4     pull together for voter challenges, did you

   5     exclude names of military voters?

   6               A       Well, in the absentee voter database,

   7     there are UOCAVA voters in there, and those are

   8     military typically, or subject to the Act, so

   9     basically military and their families, so those

 10      were dropped.

 11                        And Derek Somerville, being

 12      ex-military, is pretty familiar with where

 13      military bases are, so to what extent we could, we

 14      did attempt to suppress as much as possible what

 15      could likely be members of the military.                          But at

 16      the end of the day, ferreting out those kinds of

 17      issues is what investigations are for.

 18                        So, you know, the number of records

 19      was quite large, wasn't really possible for

 20      private citizens like us to do those kinds of

 21      investigations, so it's up to our county elections

 22      officials or state elections officials, whatever



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                                                                            Page 30
   1     the case may be, to take on that task.

   2               Q       Okay.       And Mr. Davis, you mentioned

   3     that there was different criteria for this list of

   4     about 40,000 voter names that were pulled together

   5     for the Trump attorneys, but you had referenced

   6     before, that criteria was different than the list

   7     of voters that you and Mr. Somerville worked

   8     together to pull for voter challenges.

   9                       Can you just elaborate on how that

 10      criteria was different?

 11                A       Well, for one thing, after I output

 12      the initial list, it was basically just a down and

 13      dirty first draft or first look at those issues.

 14                        And one of the things that I noticed

 15      within a couple days, I believe, of generating

 16      that file was that it contained some changes of

 17      address that were to P.O. Boxes, so almost

 18      immediately I wound up dropping about 5,000

 19      records out of there.

 20                        And the other important distinction to

 21      make is in the selection criteria, because if a

 22      person moved more than 30 days -- moved to another



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                                                                            Page 31
   1     county more than 30 days before the general

   2     election, that would indicate potential residency

   3     issues for voting in the general, but for the

   4     runoff, that date range is obviously quite

   5     different.

   6                       So, for example, if someone had moved

   7     with a Move Effective Date in October or November

   8     of 2020, we would want to suppress all of those

   9     because they're either within the grace period of

 10      30 days or irrelevant; whereas the date for the

 11      runoff was obviously a couple months later, and so

 12      the selection criteria for that would have been

 13      different.

 14                        And we also did some other

 15      suppressions when we generated the challenge list.

 16      For example, in our analysis of the voter data, it

 17      appeared that the Secretary of State had done list

 18      maintenance in 2019, and so we assumed that

 19      changes of address that were from that time period

 20      probably would have already been through their

 21      NCOA process and subsequent list maintenance

 22      activities, so we limited the scope to changes of



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                                                                                Page 32
   1     address that were beyond that time.

   2                       We did what we could to suppress

   3     military, and I'm trying to think what other

   4     suppressions we did.

   5                       Well, I assume we're probably going to

   6     go through some additional communications here

   7     that will help refresh my memory on this, but

   8     there were a number of suppressions that we did

   9     for the runoff file that shouldn't be conflated

 10      with analysis that we did for the general

 11      election, and I think this is an issue that keeps

 12      coming up.

 13                        Analysis that I did for the general

 14      election and for issues related to the general

 15      election is different from analysis that I did for

 16      potential issues related to the runoff.                           So that

 17      distinction needs to be made.

 18                        And the list that you're referencing,

 19      the 40,219, or whatever that final count was, that

 20      particular file I don't think is particularly

 21      relevant here to the issues at hand in this case,

 22      but that's my opinion, so ...



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                                                                                 Page 33
   1               Q       Okay, that's helpful.                   Thank you,

   2     Mr. Davis.

   3                       And just to ask a follow-up question

   4     to your point about this list that was provided to

   5     the Trump attorneys, when was that list put

   6     together, or when did that analysis begin?

   7               A       Well, the NCOA run that I did I

   8     believe was November 25th, if I'm not mistaken,

   9     and an initial copy of that analysis would have

 10      gone to them in some period not long thereafter.

 11                        Had that case continued, I certainly

 12      would have revisited that file and refined it

 13      more.     That was just an initial draft, an initial

 14      look, but it ended up not going farther, so that's

 15      where it sat.

 16                Q       And when you say "case," can you

 17      clarify what you mean by that?                       Was it a lawsuit

 18      or --

 19                A       Well, there was a challenge filed by

 20      the Trump attorneys and Republican Party Chairman

 21      David Shafer that I had been in communication with

 22      a number of attorneys about that case, and they



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                                                                            Page 34
   1     had asked for my analysis.

   2                       There were a number of analysts that

   3     they were in discussions with at the time

   4     regarding various issues that different people had

   5     raised.

   6                       Residency issues are in my lane, so to

   7     speak, so I was asked to submit what I was aware

   8     of that were issues with regard to those as they

   9     related specifically to the general election.

 10                Q       Okay.       And you had said before that

 11      that list was about 40,205 voters, correct?

 12                A       The initial version of it was roughly

 13      40,000 voters, a little more than that.

 14                Q       Okay.

 15                A       You have a copy of it, by the way.

 16                Q       Okay, thank you.

 17                        So, Mitch, if you could pull up

 18      Exhibit E for us and label it as Exhibit 5.

 19                        (Davis Exhibit 5 was marked

 20                          for identification.)

 21                        BY MS. MENG:

 22                Q       Mr. Davis, could you take a moment



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                                                                            Page 35
   1     just to take a look at this email communication,

   2     and let me know when you've been able to skim it

   3     over.

   4               A       Yeah, I think -- I do recognize this,

   5     and I think we basically just went over that.

   6                       Again, we had assumed that changes of

   7     address that the Secretary of State likely picked

   8     up when they did their list maintenance activities

   9     in 2019, we didn't want to recover that same old

 10      ground.

 11                        O.C.G.A. § 21-2-234 requires the

 12      Secretary of State to do list maintenance in the

 13      first six months of every odd year, so they would

 14      have done list maintenance activities, unless

 15      prevented by some sort of special election or

 16      something like that.

 17                        They would have done their list

 18      maintenance activities in the first six months of

 19      2019, so I recall limiting our challenged voters

 20      to the period beyond that.

 21                Q       Okay.       And at the top here, you see a

 22      message that Mr. Somerville sent you that said,



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                                                                             Page 36
   1     "Done.        No way to catch them all, but I'm sure I

   2     removed a few thousand records."

   3                       Do you see that?

   4               A       I think he's talking about the

   5     military scrub I asked him to do.

   6               Q       Okay.        And just to clarify the time

   7     frame here, these e-mails were sent in the middle

   8     of December, so based on what you were saying with

   9     the previous list that you did for the general

 10      election, would this list have been for -- this

 11      analysis have been for the runoff election; is

 12      that correct?

 13                A       Yes.

 14                Q       Okay.        And what did you believe

 15      Mr. Somerville meant by there's no way to catch

 16      them all?

 17                A       Well, the scrub he did would have been

 18      military bases, people living on base, but there's

 19      also people who live off base, some closer than

 20      others.

 21                        So I think what he was saying is he

 22      did his best effort to suppress as much military



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                                                                                 Page 37
   1     as possible, but there's no way to catch them all.

   2                       At the end of the day, as I said, you

   3     know, that's what investigations are for, and so

   4     it's a best efforts kind of situation.                            We made a

   5     good-faith effort to do what we could with regard

   6     to the military.

   7               Q       Okay.       And how confident were you in

   8     how accurate your analyses were in capturing or

   9     removing the data that you were seeking to remove?

 10                A       As far as the military or --

 11                Q       Military, or any other type of

 12      category, like student voters, et cetera.

 13                A       Well, I have a lot of experience doing

 14      this kind of work, and I gave my best efforts to

 15      the cause as well.

 16                        Our goal was to produce legitimate

 17      challenges as much as possible.                       We didn't want to

 18      inconvenience people unnecessarily, but at the

 19      same time, it appears to me, or at least the data

 20      indicates, that there likely were a lot of

 21      unlawful votes that were cast in the general

 22      election, and because we were seeing that, we were



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                                                                            Page 38
   1     making an effort to try to prevent the same from

   2     happening in the runoff.

   3                       So I have a lot of experience doing

   4     this kind of stuff, and I gave it my best effort,

   5     so I'm confident that I did the best that I could.

   6               Q       Okay.       Mitch, do you mind pulling up

   7     Exhibit F, and we can mark that as Exhibit 6.

   8                       (Davis Exhibit 6 was marked

   9                         for identification.)

 10                        BY MS. MENG:

 11                Q       Mr. Davis, if you could take just a

 12      moment to look over this email communication.

 13                A       I recognize it.

 14                Q       Okay.       And this appears to be an email

 15      sharing an analysis of challenged voters by

 16      categories related to votes in the presidential

 17      election, partisan affiliation, and I believe

 18      geographic proximity to Atlanta; is that correct?

 19                A       I don't think it has to do with

 20      partisan affiliation.

 21                        There was an email, I believe -- well,

 22      not an email, but a text message from Derek asking



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                                                                               Page 39
   1     if I happened to have a count by county, and I

   2     just did a quick SQL query and generated one and

   3     sent it to him because he had asked for it.                          And

   4     then, of course, the count by county was based on

   5     our final challenge list for the runoff.

   6                       And so having that, for whatever

   7     reason, this is an analysis that he did.                          I didn't

   8     particularly see the reason for it, but apparently

   9     he did, so, you know, it would probably be best to

 10      ask him about it.

 11                Q       Okay.       And this grand total number of

 12      39,941, would you say that's the number of voter

 13      names that you had put together for challenges

 14      related to the runoff election?

 15                A       I'd have to look for the exact number,

 16      but it was in that range for sure.                          That more than

 17      likely is the correct number.                      I don't have it in

 18      front of me, so I can't --

 19                Q       Sure.

 20                A       I can't say that definitively.

 21                Q       So I guess posed another way, is the

 22      county count and the number -- the analysis that



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                                                                            Page 40
   1     Mr. Somerville is referring to here related to

   2     voter names from the runoff as opposed to --

   3               A       No.

   4               Q       -- anything we discussed before?                 No?

   5               A       No.     I think what he's talking about

   6     here -- and again, I'm not real sure where he was

   7     going with this.

   8                       I had produced a count by county, so

   9     basically 159 separate counts, one for each

 10      county, indicating how many voters were being

 11      challenged in each county.                    I believe the average

 12      was less than 250.             If I recall off the top of my

 13      head properly, I think it was like 146 or

 14      something per county was the average.

 15                        And I'm not sure why he asked for that

 16      count, but it was an aggregate level number.                       I

 17      feel confident that none of this here refers to

 18      partisanship with regard to any particular voter.

 19                        The production of the challenge list

 20      was not done based on partisanship or race, or any

 21      kind of criteria like that.                    The count that he

 22      produced this from was an aggregate level count of



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                                                                            Page 41
   1     how many were being challenged per county, and for

   2     whatever reason, it appears he did some sort of

   3     workup based on which of those counties were red

   4     and blue.       And I'm not sure what the point of this

   5     was, but I would encourage you to ask him.

   6               Q       Okay.       And what's your understanding

   7     of the reference to red and blue in this analysis?

   8               A       I can only assume that he's referring

   9     to the counties that voted either Democrat or

 10      Republican.         Again, I'd encourage you to ask him.

 11                Q       Sure.       Is it fair to say, then, that

 12      you and Mr. Somerville didn't discuss this

 13      analysis further?

 14                A       I don't recall if we did or didn't.

 15      Quite frankly, when I saw it, I didn't really see

 16      the point of it.

 17                Q       And do you know if this analysis was

 18      shared with anyone else?

 19                A       I don't know.

 20                Q       And so just to clarify for my own

 21      understanding, and apologies if you've already

 22      said this, but you said that you had sent



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                                                                              Page 42
   1     Mr. Somerville a count by county of voter changes

   2     that you had put together, and that totaled

   3     39,141; is that right?

   4               A       I think I said I'm not certain of that

   5     exact number.          It wouldn't surprise me if that is

   6     the exact number, and if it was produced off the

   7     count I did by county, it should be the exact

   8     number.       And again, I --

   9               Q       Oh, sorry, go ahead.

 10                A       I think it's likely that you probably

 11      have a copy of that count by county, so we may be

 12      able to compare it to that and look at a total off

 13      of that.

 14                        All I can say is that it looks like

 15      the approximate number.                 Since I don't have the

 16      exact number in front of me, I can't really give

 17      you a definitive answer on that, so ...

 18                Q       Sure.       But the county count that you

 19      had put together, putting aside the total number

 20      for a second, what was the purpose or the context

 21      for which that county count was produced?                         Was it

 22      for the purpose of voter changes?



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                                                                             Page 43
   1               A       Well, once the final database was

   2     established for the challenges, he had asked me

   3     for a count by county, and I just did a quick

   4     SQL query and spit it out to an Excel spreadsheet

   5     and gave him the count by county, just gave him

   6     what he asked for.

   7                       I didn't know why he was asking for

   8     it.    I wasn't particularly concerned about it.                      So

   9     I gave him the count by county, and then he

 10      produced this.          Again, I didn't really see the

 11      point, so I'd encourage you to ask him about it.

 12                Q       Okay.       Great, thank you.

 13                        Now, Mr. Davis, I'm going to ask you a

 14      few questions related to the NCOA analysis that

 15      you had referred to a few times.                        And, Mitch, you

 16      can take the exhibit down.                    Thank you.

 17                        So Mr. Davis, did you and

 18      Mr. Somerville ever seek an NCOA data

 19      certification while you were doing your analysis

 20      in 2020?

 21                A       Well, I produced certifications for

 22      the NCOA run, if that's what you're referring to,



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                                                                            Page 44
   1     and I think they've been disclosed.

   2               Q       Okay.       And can you just elaborate a

   3     little bit about what you mean by producing

   4     certifications for NCOA data?

   5               A       Well, when I run NCOA, I have the

   6     option to produce a certification report that I

   7     can save to a PDF or I can print out, and because

   8     of the nature of the processing I was doing, and

   9     because I felt that it would be helpful, I went

 10      ahead and wrote out a copy of those

 11      certifications, and I believe they've been

 12      disclosed.        If they weren't, I can certainly give

 13      them to you.

 14                Q       Okay.       And how did you and

 15      Mr. Somerville ever utilize the NCOA data

 16      certifications?

 17                A       What do you mean by "utilize"?

 18                Q       You know, what was your motivation for

 19      wanting to produce a certification every time you

 20      ran the NCOA?

 21                A       Well, I've testified in court as an

 22      expert witness a number of times in disputed



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                                                                            Page 45
   1     elections cases, and any time it's possible to

   2     produce certifications, it's a helpful thing to

   3     do.

   4                       So I'm in the habit of doing that so

   5     that I can -- if nothing else, I can show what

   6     data file was processed, what day it was

   7     processed, what the counts looked like from the

   8     results of the processing, which compiler did the

   9     processing.

 10                        There's a lot of information in there

 11      that ends up being enshrined in that document, and

 12      it's just generally helpful to have it rather than

 13      not have it.

 14                Q       Okay.       And do you know if those data

 15      certifications that you produced were shared with

 16      anyone else other than Mr. Somerville?

 17                A       Oh, yes, they were.                 They were made

 18      available to the folks filing challenges so that

 19      they could show evidence of the NCOA processing,

 20      the date it was run, the company that did it, all

 21      of that kind of stuff.

 22                        So we made those certifications



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                                                                                Page 46
   1     generally available basically to help support the

   2     challenges that were issued.

   3               Q       Okay.       And are you aware if anyone at

   4     True the Vote might have had access, as you had

   5     said, because the certifications were publicly

   6     available?

   7               A       Well, they were available to the

   8     challengers.         I don't believe we published it to

   9     the public, but certainly members of the public

 10      could have obtained them from an Open Records

 11      Request from any of the counties where they were

 12      filed, but I don't recall us publishing it to the

 13      general public.           I wouldn't see any reason to do

 14      that.

 15                        Can you repeat your question?                   I

 16      forget the original context.

 17                Q       Yeah.       I was just asking if you knew

 18      if the NCOA certifications were ever disclosed to

 19      anyone at True the Vote?

 20                A       Not that I'm aware of.                    I suppose it's

 21      possible.       I don't know why it would be relevant

 22      to True the Vote.             Their effort was their effort,



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                                                                            Page 47
   1     our effort was our effort.

   2                       By now, with all the evidence that's

   3     on the table, it should be pretty clear to

   4     everyone that their challenge was not our

   5     challenge, and our challenge was not their

   6     challenge.        That should be obvious to anybody by

   7     now.

   8               Q       Okay.       And are you aware of any

   9     programs that you or anyone else might have used

 10      to analyze NCOA voter data?

 11                A       I'm not entirely sure what you mean.

 12      I analyzed the data using queries, and visually

 13      inspecting it, and tying vote history trailers to

 14      it, and that kind of thing.

 15                        I'm not aware of any programs written

 16      specifically to analyze voter data in the context

 17      of NCOA processing.

 18                Q       Okay.       Have you ever heard of AccuZIP?

 19                A       Yes.

 20                Q       Okay.       Do you understand how AccuZIP

 21      works?

 22                A       I do.       In fact, one of the companies



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                                                                            Page 48
   1     that attempted to duplicate the NCOA processing

   2     used AccuZIP, I believe.

   3               Q       Okay.       And do you know how someone

   4     might get access to AccuZIP?

   5               A       Well, you purchase a license to use

   6     the software, and I assume that you would also pay

   7     them to do NCOA processing, although I don't know

   8     how that works.           I know how it works with my

   9     compiler.

 10                        But I don't believe -- I don't believe

 11      it's difficult to obtain.                   Anybody willing to pay

 12      for it I think can get ahold of it.

 13                Q       Okay, great.            So we're coming up at

 14      the hour mark, Mr. Davis.                   Would you like to take

 15      a break now, or do you want to go through a few

 16      more questions?

 17                A       I would.

 18                Q       Okay.

 19                        THE VIDEOGRAPHER:                Just one second.

 20                        MS. MENG:          All right.

 21                        THE VIDEOGRAPHER:                We are going off

 22      the record.         The time is 9:56 a.m.



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                                                                            Page 49
   1                       (A break was taken.)

   2                       THE VIDEOGRAPHER:                We are going back

   3     on the record.           The time is 10:05 a.m.

   4                       MS. MENG:          Great.        Mitch, do you mind

   5     pulling up Tab I and marking it as Exhibit 7,

   6     please?

   7                       (Davis Exhibit 7 was marked

   8                         for identification.)

   9                       BY MS. MENG:

 10                Q       Now, Mr. Davis, can you take a moment

 11      to look at this?            It's over 200 pages, and so I

 12      won't ask you to skim it all right now, but does

 13      this look familiar to you?

 14                A       Yes.      I've actually gone through this.

 15                Q       Great.       And this appears to be a copy

 16      of a text message conversation between you and

 17      Mr. Somerville; is that correct?

 18                A       It does.

 19                Q       Okay.       Mitch, do you mind going to

 20      page 85?       Do you mind pulling up 85 and 86,

 21      actually?       Okay, great.

 22                        So Mr. Davis, in this text message



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                                                                               Page 50
   1     conversation beginning on December 6th, it looks

   2     like Mr. Somerville texts you that he keeps

   3     getting calls about the under 18 voters, and then

   4     he states he simply doesn't believe it, not sure

   5     how they're getting their information -- getting

   6     that information.

   7                       Do you see that message?

   8               A       I do.

   9               Q       Okay.       And then it's sort of towards

 10      the bottom of page 86, but you'll see that you

 11      responded, "I am skeptical."                     Do you see that?

 12                A       Yes.

 13                Q       Okay.       Can you clarify who you

 14      believed "they" was that Mr. Somerville was

 15      referring to in those text messages?

 16                A       I don't know who "they" are.                    I heard

 17      discussions quite often myself about those claims,

 18      and I think, as I mentioned before, there were a

 19      number of different data analysts that were

 20      providing information to the Trump legal team at

 21      the time, and some of those I was aware of and

 22      some I weren't.



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                                                                            Page 51
   1                       Those claims and that data did not

   2     come from me, and I had reason to be skeptical of

   3     them.

   4               Q       Okay.       Mitch, can you go to page 88,

   5     please?       Okay.

   6                       And Mr. Davis, on this same topic, at

   7     the top you'll see Mr. Somerville texts you a

   8     message, and then in that following message he

   9     says, "I think the claim is being made to inflate

 10      distrust."

 11                        What was your understanding of that

 12      comment?

 13                A       I'd have to see it in context, but if

 14      that's referring to the claims regarding underage

 15      voters, that would make sense.

 16                        What was the preceding page?

 17                Q       Sure.       So, Mitch, if you could just

 18      scroll up.        Yeah, so you'll see at the top of 87,

 19      it's a continuation of the conversation where you

 20      had said you're skeptical.

 21                A       Okay.       And then back down, please.

 22                        So Derek is saying, "I think the claim



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                                                                                      Page 52
   1     is being made to inflate distrust."

   2                       I'm not certain of that.                        I think

   3     whoever made the claim may have genuinely believed

   4     it, but I have trouble -- I have trouble figuring

   5     out how that was -- how that was done.

   6                       The state quit providing month and day

   7     of birth several years back, so I don't know how

   8     they would have had access to date of birth

   9     information, unless perhaps someone had it

 10      appended by a compiler somewhere.

 11                        So it's not a claim that I made.                           It's

 12      not a claim that, to my knowledge, Derek made.                                 We

 13      were both expressing skepticism regarding those

 14      claims.

 15                        Is there anything else you want to

 16      know about that, or ...

 17                Q       Yeah.       And so just to clarify -- you

 18      had said this before, but just so it's clear on

 19      the record -- who do you believe or do you believe

 20      Derek was receiving these -- or, you know, hearing

 21      these claims from?

 22                A       Well, I think the claim was made by



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                                                                            Page 53
   1     one of the other analysts providing input to the

   2     Trump attorneys, and like I said, there were

   3     several.       I'm not sure which particular one had

   4     made that claim.

   5                       I do know there was a lot of buzz

   6     generally about the claim, and I think both of us

   7     were just expressing our skepticism of the claim

   8     in general.

   9               Q       Okay, thank you.

 10                        Mitch, if you could pull up Exhibit J

 11      and mark it as Exhibit 8, please.

 12                        (Davis Exhibit 8 was marked

 13                          for identification.)

 14                        BY MS. MENG:

 15                Q       Mr. Davis, if you could take just a

 16      quick moment to skim through this email.

 17                A       What can I help with?

 18                Q       Have you seen this before?

 19                A       I believe I have.                It looks familiar.

 20                Q       Okay.       And do you agree that this

 21      appears to be an email from someone named Mikey

 22      Tuck to a series of individuals?



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                                                                               Page 54
   1               A       I think it's Mickey, Mickey Tuck.

   2               Q       Mickey Tuck, thank you for that

   3     correction, about Floyd County; is that correct?

   4               A       Appears to be.

   5               Q       Okay.        And who is Mickey Tuck?

   6               A       I recognize the name.                    I don't really

   7     know this person.              I've seen the name a number of

   8     times.        I think this person is probably well known

   9     within the Republican Party, but not well known to

 10      me.

 11                Q       Okay.        And do you know if Mickey is

 12      someone who agreed to file challenges from the

 13      lists that you and Mr. Somerville had put

 14      together?

 15                A       I don't know.

 16                Q       Okay.        And do you know the context for

 17      this email from him?

 18                A       Well, he or she appears to be

 19      expressing discontent with the way things went in

 20      Floyd County when they filed whichever challenge

 21      they filed, and I don't know which one that was.

 22                        So I'm not sure exactly what's gone on



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                                                                            Page 55
   1     here, and I don't recall paying particular

   2     attention to it.

   3               Q       Okay.       And at the bottom of the email,

   4     and maybe Mitch can help with this, the last few

   5     lines it says, "If they were sincere about the

   6     integrity of Floyd County elections they could

   7     have at least said that this list of voters would

   8     be reviewed after the election."

   9                       Do you see that portion towards the

 10      bottom there?

 11                A       Yes, I see it.

 12                Q       Okay.       And if Mitch could just help

 13      us -- there we go.

 14                        And so this person goes on to write,

 15      "[L]ist of voters would be reviewed after the

 16      election and that if any of those voters on the

 17      list voted illegally they would be criminally

 18      charged.       Putting that statement out there could

 19      have at least discouraged anyone voting illegally

 20      in Floyd County to not do so."

 21                        Do you see that statement?

 22                A       I do.



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                                                                            Page 56
   1               Q       And what did you understand Mr. Tuck

   2     to be saying there?

   3               A       I couldn't tell you, other than the

   4     law does require that we cast our ballots in the

   5     county where we reside -- the county and

   6     municipality in which we reside.

   7                       I am also aware that both the

   8     GA § 21-2-562 appears to make it a felony to

   9     willfully lie about where you live in order to

 10      cast a ballot in a county you don't reside in, but

 11      I can't really assume what this person that I

 12      don't really know might have meant when they made

 13      that statement.

 14                Q       Did you agree with the sentiment that

 15      Mr. or Mrs. Tuck was conveying in this message?

 16                A       If I'm interpreting it correctly, I

 17      can understand the sentiment, but again, I don't

 18      have any direct knowledge of this.

 19                Q       As we've reviewed in the context of

 20      this email, this statement made by this individual

 21      was in the context of electoral challenges filed

 22      in Floyd County.



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                                                                            Page 57
   1                       Would you have any understanding -- or

   2     did you understand Mr. or Mrs. Tuck's goal in

   3     filing these challenges to be that it would lead

   4     to criminal prosecution of voters?

   5               A       I really can't speak to someone else's

   6     motives here.          My motive was to attempt to prevent

   7     unlawful votes from being cast.

   8                       As far as determining who may or may

   9     not have committed any kind of crime, that's

 10      really not my job.             That's really the job of our

 11      election officials and law enforcement.

 12                        So again, I don't really know this

 13      person.       I can't really speculate on what their

 14      particular motives were.

 15                Q       Okay.       And have you ever had any

 16      discussions with anyone about electoral challenges

 17      leading to criminal prosecution?

 18                A       I don't recall specific discussions,

 19      but in general, as I said, the law does require us

 20      to vote in the county and municipality where we

 21      reside, with one exception I'm aware of, which is

 22      the 30-day grace period.



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                                                                            Page 58
   1                       In other words, if you've moved to a

   2     new county within a month of the election, you can

   3     still vote in your old county; or if you have

   4     moved temporarily and intend to return to your old

   5     county where you're registered, those are two

   6     instances that come to mind where such a vote

   7     would be lawfully permitted.

   8                       Otherwise, the law requires us to vote

   9     in the county and municipality where we live.                       And

 10      the Secretary of State explains this pretty well

 11      on his voter registration website as well.

 12                        So that's all I know about that, I

 13      suppose.

 14                Q       Sure.       And did you have any

 15      discussions with others about the threat of

 16      criminal prosecution leading to the discouraging

 17      of anyone voting illegally?

 18                A       Well, I mean, I would hope any voter

 19      would be discouraged from casting an unlawful

 20      ballot.       I wouldn't classify that as intimidation.

 21                        I mean, it's like if you're going to

 22      go rob a liquor store, you should be intimidated



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                                                                               Page 59
   1     by the prospect of prosecution.                       It should be

   2     obvious.       If you're aware that what you're doing

   3     is unlawful, you shouldn't do it.

   4               Q       Okay.       And was it ever your goal to

   5     partake in efforts that would lead to the criminal

   6     prosecution of voters?

   7               A       My primary motivation was to prevent

   8     illegal votes from being cast.                       It's the job of

   9     our election officials and law enforcement to

 10      determine who may or may not have committed a

 11      crime.

 12                        I've tried to make a point of not

 13      accusing any particular voter of violating the

 14      law, even though they may have.                       I'll leave it

 15      there.

 16                Q       So, Mitch, could you pull up Exhibit 7

 17      again?

 18                        MS. SIEBERT:            Ms. Meng, I'm sorry,

 19      what exhibit number was this email?                          I missed it.

 20                        MS. MENG:          It was Exhibit 8.

 21                        MS. SIEBERT:            Thank you.

 22                        MS. MENG:          Mm-hmm.



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                                                                            Page 60
   1                       BY MS. MENG:

   2               Q       Mitch, do you mind scrolling to pages

   3     221 and 222, please?               Great, thank you.

   4                       So Mr. Davis, just to confirm, this is

   5     the text message thread between you and

   6     Mr. Somerville that we had reviewed previously,

   7     correct?

   8               A       Yes.

   9               Q       Okay.       And at the top of the

 10      screenshot on page 222 here, it looks like you and

 11      Mr. Somerville are discussing the SoS, which I

 12      presume to be Secretary of State's office,

 13      conducting some investigation.

 14                        Do you see that?

 15                A       Yes.

 16                Q       Can you elaborate on what type of

 17      investigations the two of you were discussing?

 18                A       In May, I had received an update to

 19      the voter file, and when I compared the NCOA

 20      processing that I did in November to the May copy

 21      of the voter file, there were over 10,000 voters

 22      that had voted in the general election who had



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                                                                               Page 61
   1     since updated their own registrations to the exact

   2     same addresses that they gave to the United States

   3     Postal Service when they moved originally.

   4                       And since that count had gotten up so

   5     high, I decided it was probably about time for the

   6     Secretary of State to go ahead and open an

   7     official investigation into those issues, and I

   8     did ask for that investigation, and they did

   9     commit to doing it if I would provide the data for

 10      them to do the investigation, which I did do at

 11      some point in May.             I don't remember the exact

 12      date.

 13                Q       Okay.       Mitch, do you mind pulling up

 14      Exhibit K?        And this is marked as Exhibit 9.

 15                        (Davis Exhibit 9 was marked

 16                          for identification.)

 17                        BY MS. MENG:

 18                Q       Mr. Davis, do you recognize this

 19      document?

 20                A       Can you zoom in on it?                    It's really

 21      small.      Yes, I recognize it.

 22                Q       Okay.       And can you explain what it is?



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                                                                                      Page 62
   1               A       Can you scroll down to the bottom

   2     part?     Okay, what can I help with?

   3               Q       Sure.       And Mitch might have to scroll

   4     up again, but did you publish this -- sorry.

   5                       Is this a Facebook post that you

   6     published?

   7               A       I think so, yes.

   8               Q       Okay.       And was it published on

   9     November 30th, 2020?

 10                A       It appears to have been.                        I don't

 11      know.     I don't have Facebook in front of me, so

 12      I -- I don't have any reason to dispute that.

 13                Q       Okay.       And so if we go to the bottom

 14      of the page -- keep going, Mitch.                         Perfect,

 15      thank you.

 16                        At the bottom of the page, it looks

 17      like someone by the name Doug Deal commented, "Can

 18      we start turning people in for election fraud?                                 I

 19      have a list of a few people who should be made

 20      sorry they voted in two states."

 21                        Do you see that?

 22                A       I do.



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                                                                            Page 63
   1               Q       And what was your reaction when you

   2     saw Mr. Deal's post?

   3               A       I don't recall.

   4               Q       Okay.       Did you agree with Mr. Deal

   5     that people should be turned in for election

   6     fraud?

   7               A       I do think if people committed

   8     election fraud, our election officials should

   9     investigate and determine if that's actually the

 10      case.     He seems to be indicating that he found

 11      people who voted in two states.

 12                Q       Now, Mitch, if you just scroll a

 13      little bit to -- or just drag the document a

 14      little bit to the left -- sorry, the other way.

 15      Yeah, perfect, and if you could zoom out a little

 16      bit.

 17                        So Mr. Davis, this box on the side is

 18      a hover of those five thumbs up on Mr. Deal's

 19      post.     Do you see your name there?

 20                A       I do.

 21                Q       And do you recall liking Mr. Deal's

 22      post?



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                                                                            Page 64
   1               A       I don't, but I wouldn't doubt it.                 I

   2     know Doug Deal.           I agree that our elections

   3     officials should investigate election fraud.                       When

   4     they find it and it's deliberate on the part of

   5     the voter, I believe they should consider

   6     prosecuting that voter.

   7               Q       Okay.       And can you explain what you

   8     understood Mr. Deal to be saying when he said

   9     there are a few people that should be made sorry?

 10                A       Well, he seems to be indicating that

 11      he found people who voted in more than one state,

 12      and if so, perhaps they should be sorry they did

 13      that.     It's not lawful, as far as I'm aware.

 14                Q       And Mr. Davis, did you testify in

 15      front of the Georgia senate election hearing on

 16      December 3rd, 2020?

 17                A       I did.

 18                Q       Okay.       And during your testimony, I

 19      believe you said, quote, "I know they're going to

 20      be having investigators look at the rules and

 21      whatnot."

 22                        Do you recall saying that, or



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                                                                               Page 65
   1     something to that effect?

   2               A       I don't recall my exact language or

   3     what I said there.             It is on video that we can

   4     review.

   5               Q       Okay.       And do you remember who "they"

   6     were that you might have been referring to in

   7     relation to investigations?

   8               A       I don't recall specifically.                    I'd have

   9     to take a look at the video and the context in

 10      which it was said and what question had been

 11      asked, so on and so forth.

 12                Q       Okay.       And during your testimony, you

 13      also said, quote, "We can see who registered

 14      recently, and we can give them increased scrutiny,

 15      and I think we should."

 16                        Do you remember saying that?

 17                A       I don't recall that context.                    I think

 18      I was being asked about multiple registrations at

 19      the same address, if I'm not mistaken, but I don't

 20      want to sit here and speculate.

 21                        If you want to review the video, I'd

 22      be happy to do that with you.



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                                                                            Page 66
   1               Q       Sure.       What did you mean by "increased

   2     scrutiny"?        If I could just ask that question.

   3               A       Well, at the end of the day, when

   4     there's evidence that a person may have voted with

   5     residency issues, because of what the law says

   6     about where we're supposed to vote, which is,

   7     again, the county and municipality that we live

   8     in, if votes happen outside of that for whatever

   9     reason, I think they do warrant increased

 10      scrutiny.

 11                        You know, if someone is within the

 12      grace period or someone has moved away temporarily

 13      and intends to return, then, you know, those are

 14      lawful votes, but if that's not the case, then

 15      I think the situation does warrant increased

 16      scrutiny.

 17                Q       Mitch, do you mind pulling up

 18      Exhibit L?        Mark that as Exhibit 10.

 19                        (Davis Exhibit 10 was marked

 20                          for identification.)

 21                        BY MS. MENG:

 22                Q       Mr. Davis, could you just take a look



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                                                                                   Page 67
   1     at this?       And Mitch will blow it up for you.

   2     Thank you.

   3               A       I remember this one.

   4               Q       And can you explain what it is?

   5               A       Well, we found quite a number of

   6     voters that were registered to vote at commercial

   7     mail receiving agencies, and in many instances,

   8     the fact that their residence that they're

   9     claiming appears to be an 8 x 8 inch box in a

 10      UPS store, or whatever they measure, many times

 11      was disguised as an apartment number or a unit

 12      number instead of a P.O. Box number.

 13                        Again, Georgia law requires us to be

 14      registered where we actually reside.                              One of the

 15      obvious problems with people registering at a

 16      UPS store is that we're assigned our voting

 17      districts for house, senate, congressional, county

 18      commission, school board, any number of election

 19      districts, and if you're registered at a

 20      UPS store, you might live miles away in completely

 21      different districts, and you may be casting

 22      ballots in voting districts that you don't live



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                                                                            Page 68
   1     in.

   2                       So there's obvious problems with that,

   3     and quite frankly, I was astounded to find that in

   4     the data.       There are obvious ways to identify

   5     those registrations in the CASS™ certification

   6     process, and in my view, our Secretary of State

   7     and/or the counties can and should be addressing

   8     those concerns.

   9               Q       Okay.       And here, this is a post where

 10      it looks like you've reposted something that

 11      Mr. Somerville had posted and labeled with you,

 12      which I know is perhaps something that the social

 13      media website allows you to do.                       Is that correct?

 14                A       Yeah, he posted it and tagged me in

 15      the post.

 16                Q       Okay.       Now, Mitch, if we could go to

 17      the bottom of the page.                 So right there, the last

 18      paragraph we see that this post said, "We need to

 19      identify the abusers, start throwing people in

 20      jail, and close the loopholes."

 21                        Do you see that, Mr. Davis?

 22                A       I do.



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                                                                            Page 69
   1               Q       Okay.       And can you elaborate on this

   2     sentiment?

   3               A       That appears to be Derek's sentiment.

   4                       Personally, my main concern would be

   5     getting the problem corrected.                       As far as

   6     prosecuting anybody, you know, that's, again, up

   7     to our elections officials and law enforcement.

   8                       Again, as Georgia law says, we're

   9     supposed to be voting where we actually reside,

 10      and in the county and municipality where we

 11      actually reside, and undoubtedly, many of these

 12      voters that were registered at the UPS store,

 13      obviously, none of them actually live in the

 14      UPS store.        We don't know where they live.

 15                        They may or may not be voting in the

 16      right voting districts.                 They may or may not be

 17      voting in the right county.                    They may or may not

 18      be voting in the right municipality.

 19                        I don't believe what's being done is

 20      lawful, but I'm not in law enforcement and I'm not

 21      an elections official.                 It would be up to

 22      elections officials and law enforcement to



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                                                                            Page 70
   1     determine violations of law.                     My main concern is

   2     correcting the problem.

   3               Q       Did you agree with the sentiment that

   4     Mr. Somerville wrote here with this sentence?

   5               A       I think I just expressed my sentiment

   6     on the matter.          That's his.            I would ask him about

   7     it.

   8               Q       Okay.       But it is true that you were

   9     tagged in this post, and you then reposted it; is

 10      that correct?

 11                A       Correct.

 12                Q       Okay.       And what did you -- why did you

 13      decide to share the post?

 14                A       Excuse me?

 15                Q       Why did you decide to share the post?

 16                A       I think it's important for people to

 17      understand that this kind of stuff and this kind

 18      of trash is in our voter database, and no one

 19      seems to be doing anything about the issue.

 20                Q       And what did you hope would be the

 21      reaction of someone reading this post?

 22                A       Well, I would hope our elections



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                                                                            Page 71
   1     officials would sit up and take notice of this and

   2     work towards resolving the issue, but I would just

   3     about bet money that if I were to go into the last

   4     copy of the voter database that I received and do

   5     yet another analysis of this issue, I'd still

   6     find tons of people registered to vote at

   7     commercial mail receiving agencies that they don't

   8     live at.       I mean, this is -- this should be an

   9     obvious and completely nonpartisan issue here.

 10                Q       Did you think the comment that you

 11      shared that we just reviewed here might make

 12      someone think twice about voting?

 13                A       I would hope it would make people

 14      aware that they can't register to vote anywhere

 15      other than where they actually live, and no one

 16      lives in a UPS store that I'm aware of.

 17                Q       Okay.       And how do you think this post

 18      might have affected someone who is an out-of-state

 19      voter?

 20                A       I'm not sure I understand your

 21      question.

 22                Q       Let me rephrase that.



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                                                                                   Page 72
   1                       You had said that, you know, you

   2     shared this post with certain motivations in mind.

   3     What motivations did you have along -- strike

   4     that.

   5                       We can move on to page 3, Mitch, if

   6     you will.

   7                       MS. SIEBERT:            Ms. Meng, what exhibit

   8     is this?       I'm so sorry again.

   9                       MS. MENG:          This is Exhibit 10.

 10                        MS. SIEBERT:            Thank you.

 11                        BY MS. MENG:

 12                Q       So, Mitch, if you could go towards the

 13      bottom of the page.              Yep, right there, thanks.

 14                        So Mr. Davis, directing your attention

 15      to the bottom of the page, there's a comment made

 16      by someone by the name Kent Byers, and it reads,

 17      "I think a search warrant is in order here and all

 18      other UPS Stores statewide."                     Do you see that?

 19                A       Yes.

 20                Q       Okay.       And then you responded below

 21      that, "Great idea!"              And then Mr. Byers then says,

 22      "[W]ould it be an SoS investigator job?                           Or a



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                                                                            Page 73
   1     sheriff job?"          Do you see that?

   2               A       Yes.

   3               Q       What did Mr. Byers mean?

   4               A       Well, Kent Byers is retired law

   5     enforcement, and I think he was saying that, in

   6     his opinion, an investigation should be had.

   7                       I agree that an investigation should

   8     be done.       It should start with our elections

   9     officials, and if they find violations of the law,

 10      then if they choose to involve law enforcement and

 11      search warrants or whatever else, that's up to

 12      them.     I think he's making these comments as

 13      former law enforcement himself.

 14                Q       Okay.       And what did you think was the

 15      value in seeking out search warrants?

 16                A       He seems to believe it would be

 17      useful, and I assume -- I assume those businesses

 18      would have the actual addresses where the owners

 19      of those boxes actually reside.                       I would think in

 20      an investigation of this nature, that would be

 21      useful to law enforcement.

 22                Q       Mitch, do you mind scrolling to



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                                                                                    Page 74
   1     page 4, please?            Okay.

   2                       And the third post on this page is by

   3     someone by the name Robert Cromlish.                               Do you see

   4     that?     Sorry, it's Roberta Cromlish, yes, right

   5     there.        Do you see that --

   6               A       I do.

   7               Q       -- post, Mr. Davis, right in the

   8     middle?       Okay.

   9                       And it looks like this individual

 10      says, "Let's see if any one has the balls to

 11      prosecute to the max or if they will just get a

 12      hand slap!"         Do you see that?

 13                A       I do.

 14                Q       Did you agree with -- I presume it's a

 15      Ms. -- Ms. Cromlish's comment here?

 16                A       I don't know that I necessarily agreed

 17      with it, but I certainly am curious about whether

 18      or not any of our elections officials or law

 19      enforcement will actually get involved with this

 20      very legitimate set of issues and actually take

 21      any kind of action at all.

 22                Q       And what did you think would be the



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                                                                              Page 75
   1     reaction of someone reading this comment?

   2               A       I hope by now, reading this entire

   3     thread and becoming aware of the issue, I would

   4     hope folks are cognizant of the fact that you

   5     can't register to vote at a UPS store when you

   6     live elsewhere.

   7               Q       And do you believe this comment might

   8     have impacted a voter's willingness to vote?

   9               A       Well, if a voter is registered

 10      anywhere other than where they actually live, and

 11      they're violating the law, perhaps there should be

 12      concern.

 13                Q       Mitch, can you go to -- could you pull

 14      up Exhibit M and mark that as Exhibit 13?                         Sorry,

 15      Exhibit 11.

 16                        (Davis Exhibit 11 was marked

 17                          for identification.)

 18                        BY MS. MENG:

 19                Q       And can you just blow up the first

 20      part of that for Mr. Davis so he can see?                         Great,

 21      thank you.

 22                        Mr. Davis, can you take a moment to



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                                                                            Page 76
   1     review this?

   2               A       All right.           How can I help?

   3               Q       Do you recognize this post?

   4               A       I think I do, yes.

   5               Q       And is this a joint post between you

   6     and Mr. Somerville on December 5th, 2020?

   7               A       It appears to be one that he tagged me

   8     in.

   9               Q       Okay.       And it's a post about a voter

 10      who you guys have a named "Dave"?

 11                A       Appears to be.

 12                Q       Okay.       Mitch, do you mind scrolling to

 13      page 4?       And at the top there -- yeah, if you can

 14      go back to that view of just the first half.

 15      Thanks.

 16                        Mr. Davis, you'll see there's a post

 17      from you tagging Mr. Brandon Bramlett on

 18      contemplating the idea of filing a challenge to

 19      these voters.          "If nothing else, once they've been

 20      flagged in the system, it should result in

 21      increased scrutiny."               Do you see that?

 22                A       Yes.



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                                                                              Page 77
   1               Q       And can you elaborate on what you

   2     meant here?

   3               A       It appears I'm talking about the idea

   4     of challenging voters in the runoff election, and

   5     doing that sort of puts the Secretary of State and

   6     State Board of Elections and everybody else on

   7     notice about these issues before the election.

   8                       And if the runoff election had

   9     resulted in a very narrow -- what's the word -- a

 10      very narrow margin between the candidates, and

 11      there were some quantifiable number of unlawful

 12      votes that met or exceeded that spread, or

 13      evidence of systemic irregularities, then, of

 14      course, under the law, an election can be

 15      challenged.

 16                        And so I think documenting these

 17      issues before an election is helpful in

 18      strengthening a potential contest, should one have

 19      developed following the election.                         That didn't end

 20      up being the case, but I think that's what I was

 21      referring to.

 22                Q       So in this latter half of your comment



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                                                                            Page 78
   1     where you say "also bolster any legal challenge to

   2     the election," can you elaborate on that?

   3               A       I think I just did, didn't I?

   4               Q       So just to clarify, you're referring

   5     to legal challenges as they relate to contesting

   6     an election; is that correct?

   7               A       Correct.

   8               Q       Okay, thanks.

   9                       Mitch, could you go to page 6, please,

 10      in the middle of the page?                    Yes, right there.

 11                        So Mr. Davis, do you see a post or a

 12      comment by someone named Chuck Martin?

 13                A       Yes.

 14                Q       And here he says, "Just curious why

 15      hide 'Dave's' identity?"                  Do you see that post?

 16                A       Yes.

 17                Q       Okay.       And then later on in that same

 18      comment he says, "[H]as this been turned over for

 19      criminal prosecution?"                 Do you see that?

 20                A       Yes.

 21                Q       Okay.       And then, Mitch, do you mind

 22      scrolling down a little bit?                     Perfect, right



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                                                                            Page 79
   1     there.

   2                       And so, Mr. Davis, you respond to

   3     Mr. Martin at the bottom.                   Do you see that?

   4               A       Yes.

   5               Q       And there you're referring to turning

   6     over data to the SoS and DOJ, which I presume to

   7     be the Secretary of State and Department of

   8     Justice investigators; is that correct?

   9               A       I was contemplating that at the time,

 10      yes.

 11                Q       Okay.       And who is the "we" you refer

 12      to in the beginning part of that sentence?

 13                A       It's been a while, but I think it's

 14      likely I was talking about Derek and I.

 15                Q       Okay.       And can you explain what you

 16      were referring to here?                 Later on in the -- sorry.

 17                        So to clarify, later on in that

 18      comment you say, "I think it's best right now to

 19      avoid naming real names of individual voters."

 20                        Can you clarify what you meant there?

 21                A       Yeah.       As we've discussed before,

 22      there are circumstances where long-term temporary



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                                                                            Page 80
   1     movers can appear in the data processing because

   2     many of them actually file permanent changes of

   3     address for what technically is a long-term

   4     temporary move, and for that reason, I don't like

   5     to talk much about individual voters by name.                       I

   6     don't think that's a smart thing to do.

   7                       And I certainly don't support

   8     publishing any of this analysis or putting people

   9     on the spot, and, you know, we avoided doing that

 10      with these efforts.

 11                Q       And why is it that you didn't want to,

 12      as you had said, put people on the spot or publish

 13      information?

 14                A       I think I just explained that not all

 15      of these are actual permanent changes of address.

 16                        There's going to be some in the mix

 17      where a person may have gone out of the state or

 18      to another county for some temporary purpose, even

 19      though it may be a long-term temporary change of

 20      address, classed as a permanent change of address

 21      by the Postal Service.

 22                Q       Okay.       And what was the concern that



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                                                                              Page 81
   1     you and/or Mr. Somerville shared about publicizing

   2     information about voters?

   3               A       Well, we certainly don't want to start

   4     naming names of people that may not have been

   5     guilty of casting ballots, you know, in a location

   6     other than their county or municipality of

   7     residence as required by the law.

   8                       I think I've said that several times

   9     now.     I don't know what else you're looking for.

 10                Q       Okay.       And did you ever turn over

 11      information to the Secretary of State and the DOJ

 12      as you refer to here?

 13                A       I did open an investigation with the

 14      Secretary of State's office, not the DOJ.                         I think

 15      we've discussed that previously.

 16                Q       And that was about, as you had said,

 17      if I recall, around May of 2021; is that correct?

 18                A       Yes.

 19                Q       Okay.       And, Mitch, can you scroll to

 20      page 12?       Yeah, right at the top there.

 21                        So Mr. Davis, in response to -- or

 22      perhaps, Mitch, what you can do is, can you show



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                                                                                  Page 82
   1     the bottom of the page right before it, and then

   2     this page?        Just scroll a little bit.                       Thank you.

   3                       So here, Mr. Davis, you're responding

   4     to someone by the name Joseph Michael Yates, and

   5     again you referred here to the Secretary of State

   6     and DOJ investigators.                 You then proceed to say

   7     that not everyone on the list --

   8               A       Are we talking about the same --

   9     I'm sorry, I didn't mean to interrupt.

 10                Q       No worries.           Do you see that post that

 11      Mitch I think is about to highlight right there?

 12                A       I do.       My question is are we still on

 13      the same Facebook post we were on?

 14                Q       We are, yes, it's just later on in the

 15      thread.       And if you would like to confirm that,

 16      you can have Mitch scroll up a little bit.

 17                A       I'll take your word for it.

 18                Q       Okay.       So I know we had covered this

 19      before, but just to clarify, so your concern about

 20      publishing information about voters is that you

 21      didn't, as you had said here, you were not in

 22      favor of making public accusations against



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                                                                            Page 83
   1     particular individuals; is that right?

   2               A       That's right.

   3               Q       Okay.       Mitch, do you mind going to

   4     page 20 in this document?

   5                       At the top there, someone by the name

   6     John Cassard says --

   7               A       "KA/SARD."

   8               Q       "Cassard," thank you.

   9                       "I remember you saying before that

 10      none of the perpetrators are ever REALLY

 11      punished."        Do you see that?

 12                A       I do.

 13                Q       Okay.       And then he proceeds to say,

 14      "Maybe if they know they'll get popped, they'll

 15      stop.     Crime, punishment, and deterrence."

 16                        Did I read that correctly?

 17                A       It appears so.

 18                Q       Okay.       And how did you interpret this

 19      comment when you saw it?

 20                A       John is an old friend from high

 21      school, and at one point I had told him that, over

 22      the last 20 years, I've testified as an expert



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                                                                            Page 84
   1     witness in five different elections cases, and

   2     over and over and over and over again, I have

   3     watched voters take the stand and admit to

   4     violations of the law.                 I have yet to see the

   5     first one prosecuted.

   6                       I believe I also told him about the

   7     double voting scandal I uncovered down in

   8     Long County, which resulted in a statewide

   9     investigation that identified, I think it was over

 10      1700 more, and that may be an undercount, and

 11      quite frankly, may be just the tip of the iceberg.

 12      I have yet to see any of those voters prosecuted.

 13                        I did see the Secretary of State come

 14      out and assert that he was going to prosecute

 15      voters who knowingly cast ballots twice.

 16                        I think one of the things that tends

 17      to happen is a lot of people make claims about the

 18      lack of vote fraud when often it's there, it's

 19      just often not prosecuted.                    Even when it's

 20      identified, a lot of times law enforcement and our

 21      elections officials take a pass on doing anything

 22      about it.



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                                                                            Page 85
   1               Q       And what did you take his comment to

   2     mean when he said "if they know they'll get

   3     popped"?

   4               A       I mean, I guess that'd be a question

   5     for him, but the way I would interpret that is if

   6     voters are aware that if they violate election

   7     laws, knowingly violate election laws or willfully

   8     lie to elections officials about where they live,

   9     if they're aware there's consequences for

 10      violating the law, he's apparently saying they'll

 11      stop.

 12                Q       Okay.       And what did you think would be

 13      the reaction of someone reading this comment?

 14                A       Well, if they're knowingly violating

 15      election law, perhaps they'll stop.

 16                Q       And did you believe this comment might

 17      impact a voter's willingness to vote?

 18                A       I would hope it might impact a voter's

 19      willingness to vote illegally.                       But if that voter

 20      is a lawful voter, lawfully registered, and voting

 21      where they should be voting, I don't know why that

 22      would even apply to them.



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                                                                            Page 86
   1               Q       And so did you agree with this comment

   2     that -- agree with this comment and the sentiment

   3     that voters should be punished if they are, as you

   4     said, voting illegally?

   5               A       Well, as I said before, if a voter --

   6     and we can pull up the law and read the plain

   7     language of it, but I'm paraphrasing here, but my

   8     understanding of O.C.G.A. § 21-2-562 is that if a

   9     voter willfully misleads elections officials about

 10      where they live so they can cast an unlawful

 11      ballot, it appears to me to say that that is a

 12      felony.

 13                        Now, as far as who should and

 14      shouldn't be prosecuted and all of that, that's up

 15      to our elections officials and law enforcement.

 16                        Quite frankly, I don't expect to see a

 17      whole lot of that because I so seldom see them

 18      take any kind of meaningful action when voter

 19      fraud is uncovered and admitted to on the record

 20      in a courtroom.           I don't see much activity going

 21      on there.

 22                        So again, my primary motivation is to



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                                                                            Page 87
   1     effect change that would help prevent unlawful

   2     votes from being cast and effect changes in policy

   3     to help identify and thwart unlawful voting.

   4                       You know, one of the issues that I

   5     have raised before in my prior deposition here is

   6     that, in the general election, the data seems to

   7     indicate there were over 100,000 voters who had

   8     moved from the county they were registered in to a

   9     new county more than 30 days before the election.

 10                        The vast majority of those voters did

 11      not attempt to cast unlawful ballots in a county

 12      they no longer live in, but it appears that the

 13      same data indicates that tens of thousands may

 14      have done precisely that.                   And if that's the case,

 15      that means the voters that obeyed the law didn't

 16      get to have their votes counted, and folks who

 17      broke the law did, and any of us should have an

 18      issue with that.

 19                        MS. SIEBERT:            Ms. Meng, for just a

 20      second, my dog needs to be let in my office.                       I'm

 21      just going to go off camera for 5 seconds and let

 22      her in so she doesn't drive me crazy.



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                                                                                Page 88
   1                       MS. MENG:          Sure, I'll wait for you to

   2     come back.

   3                       MS. SIEBERT:            I'm back.          Sorry.

   4                       MS. MENG:          No worries.

   5                       BY MS. MENG:

   6               Q       Mitch, if we could just go back to

   7     page 6 of this PDF.

   8                       So Mr. Davis, for your awareness,

   9     we're still on the same Facebook post, we're just

 10      scrolling through some of the comments were made.

 11                        And towards the bottom of page 6,

 12      Mitch, if you will.              Great, thank you.

 13                        So Mr. Davis, you'll see that at the

 14      bottom of the page, going back to a comment you

 15      had made, "I think it's best right now to avoid

 16      naming real names of individual voters so neither

 17      Derek or I has to spend a small fortune on

 18      lawsuits."        Do you see that?

 19                A       Yes.

 20                Q       What lawsuits were you concerned about

 21      facing?

 22                A       I think we've covered this.



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                                                                              Page 89
   1                       If someone moved temporarily, even

   2     though it was filed as a permanent change of

   3     address, if it was actually a long-term temporary

   4     change of address, and someone accuses them of

   5     committing a crime, then, yeah, I mean, they could

   6     consider a lawsuit.

   7                       I certainly have no interest in being

   8     involved in such a situation.                      So just in general,

   9     you know, I try to avoid naming individual voters,

 10      and I'm reluctant to even address instances

 11      regarding individual voters.

 12                        There have been a couple that have

 13      popped up from time to time, but that's when

 14      they've made themselves an issue.                         But in general,

 15      I tend to avoid doing that.

 16                        Again, as I said before, I think it's

 17      up to our elections officials and law enforcement

 18      to determine who has or hasn't committed a crime.

 19                Q       Okay.       And when you refer to law

 20      enforcement, can you specify or clarify what you

 21      mean by that?          Are you referring to police or --

 22                A       Well, the State Board of Elections I



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                                                                                Page 90
   1     believe generally refers violations of election

   2     law to the Attorney General's Office of Georgia,

   3     but it's also my understanding that county

   4     district attorneys can hold grand jury hearings.

   5     You know, so I think that, in general, that can

   6     take a number of different forms.

   7                       That's not really my issue.                     You know,

   8     if a county identifies some sort of unlawful

   9     voting and refers it for prosecution to their

 10      county district attorney, I believe that would be

 11      an appropriate venue for that.                       But again, I'm not

 12      a lawyer, but based on what I am aware of, that's

 13      my opinion.

 14                        But again, my primary motivation is to

 15      thwart illegal voting in the first place.                          As far

 16      as any consequences, I'm not super optimistic that

 17      anyone is going to get prosecuted.                          Even if they

 18      have committed a felony, I'd be surprised.

 19      Because I so often see obvious vote fraud go

 20      unpunished, I'm not optimistic that it's going to

 21      happen simply because it's been identified.

 22                        I'll leave it there.



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                                                                            Page 91
   1               Q       Okay.       And one final question on this

   2     post here.        Is it fair to say that you were

   3     concerned about lawsuits brought against you for

   4     defamation?

   5               A       Not particularly, because I don't

   6     believe I've defamed anyone.

   7               Q       Okay.       Then what was the nature of the

   8     lawsuit that you were concerned about?

   9                       I know you've described sort of what

 10      would motivate a voter to potentially sue you, but

 11      what's the nature of the claim that you were

 12      particularly concerned about?

 13                A       There isn't one.               I certainly don't

 14      want one.

 15                Q       Okay.       So Mr. Davis, I'd like to ask

 16      you now a few questions about your interactions

 17      with True the Vote.              And, Mitch, you can take this

 18      exhibit down.          Thank you.

 19                        So Mr. Davis, how many times -- oh,

 20      would you like to take a break?

 21                A       I just noticed we're on the hour mark.

 22      I was going to ask if that's possible.



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                                                                            Page 92
   1               Q       Sure.       Let's take a five-minute break

   2     and come back at around 11:05, 11:06.

   3               A       Thank you so much.

   4                       THE VIDEOGRAPHER:                We're going off the

   5     record.       The time is 11:01.

   6                       (A break was taken.)

   7                       THE VIDEOGRAPHER:                We're going back on

   8     the record.         The time is 11:08 a.m.

   9                       BY MS. MENG:

 10                Q       So Mr. Davis, I'd like to ask you a

 11      couple of questions about your interactions with

 12      True the Vote.

 13                        How many times would you say you've

 14      been on calls with True The Vote or any

 15      representative from True the Vote?

 16                A       I recall two.             It's been a while.

 17                        I had just met -- well, I've never

 18      actually met True the Vote people in person, but I

 19      had been introduced to True the Vote shortly

 20      before all of this started following the general

 21      election.       I had not known them for very long.

 22                Q       So sorry, just to clarify that



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                                                                              Page 93
   1     timeline, you said that you met them before the

   2     general election; is that correct?

   3               A       I had a phone call with Gregg Phillips

   4     following the general election; and then there was

   5     a -- it was a Zoom meeting that Catherine

   6     Engelbrecht had hosted; and then I think there was

   7     one occasion where I ended up speaking with her on

   8     the phone at one point that I had forgotten about

   9     until recently when it came up.

 10                Q       Okay.       And so you'd say that you've

 11      communicated directly with Ms. Engelbrecht on the

 12      phone about one time that you can recall; is that

 13      correct?

 14                A       I recall one.             I'm not discounting the

 15      possibility there could have been others.                         There

 16      was so much activity going on following the

 17      general election, it's kind of a blur, but my best

 18      recollection is one, but I'm not going to sit here

 19      and say there might not have been others.

 20                Q       Okay.       And do you -- have you ever

 21      texted, messaged, or contacted Ms. Engelbrecht

 22      directly in a non-phone conversation context?



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                                                                              Page 94
   1               A       There was a message that I sent her

   2     during a Zoom call that she hosted, and then there

   3     was another occasion that I recall texting her

   4     with a concern about some activity that they were

   5     going to be -- or they had proposed doing on the

   6     web.

   7               Q       Okay.       And have you ever had any

   8     disagreements with anyone at True the Vote?

   9               A       Quite a few.

 10                Q       Okay.       Can you just briefly describe

 11      what some of those are?                 We may get into some

 12      detail about that later, but if you could just

 13      give a brief overview.

 14                A       I was not on board with the philosophy

 15      surrounding their challenge.                     I felt it was too

 16      broad.      From my own perspective, I wanted mine to

 17      be more legitimate, more smaller.                         I wanted our

 18      challenge to be focused.

 19                        As I think I mentioned before, I think

 20      our average number of challenged voters per county

 21      was under 250.          Of course, the larger counties

 22      with larger staffs would have received larger



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                                                                               Page 95
   1     challenges, and some of the smallest counties

   2     might have received very, very few.                          So I had a

   3     disagreement in terms of the scope.

   4                       One of the issues that popped up early

   5     on was my desire to make sure everyone was aware

   6     that our challenge was not True the Vote's, and

   7     vice versa, and I wanted people to be aware of the

   8     difference in the philosophies surrounding the

   9     challenges.

 10                        And then the other instance that I

 11      recall was there was some talk about publishing

 12      voter data on the website, and I think I may have

 13      misunderstood what they were doing, and I had

 14      expressed a concern about what I thought their

 15      plans to be, but I think it turns out some of my

 16      concerns were unfounded.

 17                Q       Okay.       And you had referred to,

 18      you know, wanting your challenges to be more

 19      legitimate.         Can you elaborate on what you mean by

 20      "legitimate"?

 21                A       I don't mean to imply that theirs were

 22      illegitimate.          Theirs was broader than the one



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                                                                                Page 96
   1     that I contemplated.

   2                       I felt like my approach was the

   3     correct approach.             I mean, obviously, that's why

   4     we pursued ours the way that we did and with the

   5     philosophy that we pursued it.

   6                       Does that answer your question?

   7               Q       Sure, it does.

   8                       So, Mitch, can we pull up Exhibit N?

   9     And this will be labeled as Exhibit 12, please.

 10                        Mitch, are you there?                   Oh, okay.

 11      Thank you.        Sorry about that.

 12                        THE VIDEOGRAPHER:                I'm sorry, N or M?

 13                        MS. MENG:          N as in Nancy.

 14                        THE VIDEOGRAPHER:                I gotcha.      My bad.

 15                        There you go.

 16                        MS. MENG:          And we'll mark this as

 17      Exhibit 12.

 18                        (Davis Exhibit 12 was marked

 19                          for identification.)

 20                        BY MS. MENG:

 21                Q       So Mr. Davis, are you familiar with

 22      this document?



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                                                                            Page 97
   1               A       It looks familiar.

   2                       What can I help with?

   3               Q       Okay.       And is this an e-mail chain

   4     between you and Mr. Somerville about some matters

   5     related to elector challenges?

   6               A       Yes.

   7               Q       Okay.       And at the top you'll see

   8     Mr. Somerville sent an email to you saying,

   9     "[T]his went to a few key people to start getting

 10      it to the broader networks."

 11                        Did I read that correctly?

 12                A       It appears you have.

 13                Q       Okay.       And are you aware of who the

 14      few key people are that Mr. Somerville is

 15      referring to here?

 16                A       I'm not.

 17                Q       Okay.       Do you know if the key people

 18      here at all included anyone from True the Vote?

 19                A       I don't know.

 20                Q       Mitch, do you mind pulling up

 21      Exhibit O, which we will label as Exhibit 13.

 22



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                                                                                 Page 98
   1                       (Davis Exhibit 13 was marked

   2                         for identification.)

   3                       BY MS. MENG:

   4               Q       Mr. Davis, can you take a moment just

   5     to look over this?

   6               A       I think that may be referring to the

   7     Zoom call that we referred to earlier.                            I'm not

   8     certain of that, but I believe that may be the

   9     case.

 10                Q       Okay.       And in the email towards the

 11      middle, Mr. Somerville states that we'll be

 12      taking -- we'll be talking about next steps.

 13                        Do you see that part?

 14                A       Yes.

 15                Q       Okay.       And in response you said, "I'll

 16      be ready," at the top.                 Do you see that?

 17                A       Yes.

 18                Q       What were you referring to in saying

 19      that you would be ready?

 20                A       I don't recall specifically.                     I assume

 21      I was basically saying that I'll be ready for the

 22      call in general.



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                                                                            Page 99
   1               Q       Okay.       And was there anything you were

   2     preparing in particular in relation to the call?

   3               A       Not that I recall.

   4               Q       Did you end up attending the call?

   5               A       As I said, I think this is referring

   6     to the Zoom call that I was on that was kind of a

   7     general town hall that Catherine had hosted, and I

   8     attended it just to see what was going on.

   9                       Again, you know, our challenge was not

 10      their challenge, but, you know, I was interested

 11      in keeping up with what they were up to and what

 12      they were doing.

 13                        To give you an analogy, there's a lot

 14      of groups that are out there to help the homeless,

 15      but they're in different groups for reasons.

 16      Similarly, I'm generally supportive of election

 17      integrity efforts, although they may not fit my

 18      own philosophy to a tee.

 19                Q       Okay.       And here Mr. Somerville implied

 20      that there was going to be a conversation about

 21      next steps.         Do you recall what next steps were

 22      discussed on this call?



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                                                                             Page 100
   1               A       I don't recall much about the call in

   2     general.       It was quite some time ago.

   3                       I do recall asking to be able to

   4     clarify the differences in the challenges and

   5     basically getting shut down.

   6                       I do recall it seemed like Catherine

   7     didn't even know who I was and wasn't interested

   8     in what I had to say, and I recall quitting the

   9     call in anger because of that.                       I was pretty

 10      ticked off.

 11                Q       Okay.       And what was the basis -- you

 12      had mentioned that it didn't seem like

 13      Ms. Engelbrecht even knew who you were.

 14                        What was the basis or context in which

 15      she would have known who you were?

 16                A       Well, my initial introduction to

 17      True the Vote came after Derek had dinner with her

 18      and Gregg Phillips.              Subsequent to that, there was

 19      a conference call arranged that Catherine was

 20      supposed to have attended, but didn't, so it wound

 21      up being just me and Derek and Gregg Phillips, and

 22      it was kind of a general get-to-know-you kind of



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                                                                             Page 101
   1     situation.        And Gregg and I sort of compared our

   2     backgrounds and our decades in working with voter

   3     data and all of that, and we found a lot of common

   4     ground and common experiences.

   5                       At one point in the conversation, he

   6     had brought up the possibility of me becoming

   7     involved with True the Vote in a formal way, and

   8     perhaps in a leadership role, and I explained to

   9     him that I really don't have the bandwidth, and

 10      that I was going to have to decline, but that I

 11      wished them all the best, and that was kind of

 12      where that was left.

 13                        I sort of expected that he would have

 14      briefed Catherine on those discussions; that

 15      didn't appear to have happened.                       She, again,

 16      didn't seem to even really know who I was or why I

 17      was on the call, didn't seem interested in what I

 18      had to say, and as I said, I wound up quitting the

 19      call before it ended.                I was kind of angry that I

 20      wasn't given the opportunity to draw the clear

 21      distinctions between the challenges.

 22                Q       Okay.       So, Mitch, if you don't mind



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                                                                           Page 102
   1     pulling up Exhibit 7, and if you could go to pages

   2     158 and 159.         Okay.

   3                       So Mr. Davis, just to confirm, this is

   4     again the text message conversation between you

   5     and Mr. Somerville that we've gone back to a

   6     few times; is that right?

   7               A       Yes.

   8               Q       Okay.       And is it correct to say that

   9     the text messages on the screen here refer to the

 10      Zoom call that you were just speaking about?

 11                A       I'd want to compare the dates, but I

 12      believe that does, yes.

 13                Q       Okay.       And I believe we've covered

 14      this a little bit, but can you tell me who was on

 15      the call?       It sounded like it was you,

 16      Ms. Engelbrecht.            Who else was on the call?

 17                A       There were a whole lot of folks on the

 18      call.     I believe it was kind of a general

 19      town hall type situation for True the Vote's

 20      volunteers.

 21                        I certainly am not a True the Vote

 22      volunteer, but again, I generally am supportive of



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                                                                                 Page 103
   1     efforts involving voter integrity -- or election

   2     integrity, rather.

   3                       So I attended just to kind of keep up

   4     with what they were doing.                    And again, I had hoped

   5     to be able to draw a distinction between the

   6     challenges, and I wasn't permitted to do that, and

   7     I was pretty ticked.

   8               Q       Were you aware -- I know you had made

   9     the analogy before of multiple groups being

 10      involved in helping homeless people.

 11                        Were you aware of other individuals or

 12      groups that were on this call that were also doing

 13      voter challenges outside of the True the Vote

 14      challenges?

 15                A       Derek had told me that some of the

 16      volunteers were also our volunteers.                              I didn't

 17      handle that.         You know, I'm a voter data analyst,

 18      and I kind of had my head down in the data and

 19      handling what was in my purview, and organizing

 20      who was filing what where and coordinating all

 21      that stuff, I pretty much left that to Derek.

 22                        But I think at some point, I don't



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                                                                           Page 104
   1     remember if it was before or after the call, you

   2     know, he had told me that some of our volunteers

   3     were also volunteers for True the Vote.

   4                       I assumed that I knew that before the

   5     call, which is why I would have wanted to draw a

   6     clear distinction between the efforts, but again,

   7     I wasn't allowed to do that.

   8               Q       Okay.       So putting aside voter

   9     challengers and putting aside the True the Vote

 10      representatives that were on the call, are you

 11      aware of any other individuals in your capacity,

 12      which you had described as voter analysts, who

 13      might have been on that call as well?

 14                A       I assume Gregg Phillips was on the

 15      call, but I don't remember that specifically.

 16      It's difficult for me to imagine that he wasn't,

 17      but I don't for sure know that he was.

 18                Q       And so taking a look at page 159 here,

 19      you sent a text message -- it's timestamped here

 20      at 5:50 p.m. to Mr. Somerville stating that you

 21      left when it became pretty clear that they didn't

 22      want to hear from Derek's team.



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                                                                           Page 105
   1                       What did you mean by that?

   2               A       If I recall correctly, I believe

   3     Catherine referred to "Derek's team," and I guess

   4     assumed that I must have been a member of Derek's

   5     team.

   6               Q       Okay.       And what about that reference

   7     motivated you to log off or leave the call?

   8               A       It became clear to me that she not

   9     only wasn't interested in what I had to say, but

 10      didn't really even recognize who I was, because,

 11      I mean, I guess if you were to use the term

 12      "Derek's team," that would refer to Derek and I,

 13      unless someone is trying to be inclusive of people

 14      that Derek might have recruited to file

 15      challenges.

 16                Q       So, Mitch, can you scroll to page 160

 17      for us?       Great, thank you.

 18                        So Mr. Davis, here you'll see this

 19      captures some of what you had discussed before,

 20      but you said to Mr. Somerville, "Derek it honestly

 21      sounded to me like she didn't even know who I

 22      was."



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                                                                           Page 106
   1                       Is the "she" you're referring to here

   2     Ms. Dalbrecht [sic]?

   3               A       Excuse me?

   4               Q       Ms. Engelbrecht, sorry.

   5               A       Yes.

   6               Q       Okay.       And then just to clarify, you

   7     had said before that you had assumed she would

   8     know who you are because you had met with

   9     Gregg Phillips and assumed that he had updated her

 10      on discussions that you had had, correct?

 11                A       Well, Derek had met with her and

 12      Gregg Phillips.           I met Gregg on a conference call,

 13      not in person.          I've never met either of them in

 14      person.

 15                Q       Okay.       So those two conversations were

 16      the basis by which you believe she would know who

 17      you are.

 18                        Are there any other interactions that

 19      you had with her, directly or indirectly, that

 20      would have led you to that belief that she would

 21      know who you are?

 22                A       I don't immediately recall any, but



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                                                                             Page 107
   1     yes, I definitely did expect she would know who I

   2     was.

   3               Q       Okay.       And what about the fact that

   4     she didn't know who you were were you bothered by

   5     on this call?

   6               A       I objected to the attempt to -- I

   7     hesitate to use the word "hijack," but, you know,

   8     I felt like she was trying to roll the efforts

   9     that Derek and I were involved in into

 10      True the Vote's efforts, when they were really

 11      completely separate efforts.

 12                        You know, again, I used the analogy

 13      earlier about two different organizations that

 14      want to help the homeless, but there's reasons

 15      they're two separate organizations.                          If they were

 16      in agreement on everything, you know, they might

 17      as well be just one organization, but ...

 18                        And, you know, I think I was generally

 19      ticked off that it appeared that -- perhaps the

 20      better word to use would be "co-opted" or

 21      something.        I felt like -- I felt like our efforts

 22      were sort of being co-opted, and I objected to



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                                                                           Page 108
   1     that strongly.

   2               Q       And can you clarify or elaborate on

   3     what was being said that you felt was, you know,

   4     Ms. Engelbrecht's attempt to roll everything

   5     together?

   6               A       I don't recall what it was that set me

   7     off, but something in that meeting -- I don't

   8     recall specifically what it was, but over the

   9     course of the meeting, it became clear to me that

 10      there weren't distinctions being made between the

 11      two challenges, and I wanted those distinctions

 12      made, and wasn't permitted to make those

 13      distinctions, and rather than continue on with the

 14      call, I just quit.             I just checked out and left.

 15                Q       And why was it important for you for

 16      those distinctions to be made or for you not to be

 17      associated with the True the Vote organization?

 18                A       I mean, I don't mind people knowing

 19      that I'm generally supportive of their efforts

 20      regarding election integrity.                      I think they've

 21      done some good work.

 22                        But I did object to the feeling that I



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                                                                           Page 109
   1     had that there was an attempt to sort of co-opt us

   2     rather than allow a discussion about why these

   3     were separate efforts and why the philosophy

   4     behind the challenges were different, and what the

   5     reasons for that were, and so on and so forth.

   6                       I would have -- I would have preferred

   7     for the folks on the call to understand those

   8     differences, and I wasn't able to make that

   9     happen.

 10                Q       And what was True the Vote's

 11      philosophy that you've been referring to that you

 12      disagreed with?

 13                A       Well, as we've discussed previously,

 14      their challenges were very broad.

 15                        You know, there's three tranches when

 16      it comes to change of address issues: there's

 17      changes of address to out-of-state addresses,

 18      there's changes of address from one county to

 19      another within the state, and then there's changes

 20      of address inside the same county.

 21                        And from what I understand about their

 22      challenges, they challenged folks who had filed a



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                                                                            Page 110
   1     change of address to an address outside the state

   2     of Georgia, and they had also challenged people

   3     who had filed changes of address from one Georgia

   4     county to another more than 30 days before the

   5     election.

   6                       So they were basically doing two out

   7     of the three tranches in general, whether or not

   8     people had cast ballots in the general election or

   9     not, whether they had already been through review

 10      by the Secretary of State.

 11                        And, you know, we had made a lot of --

 12      a lot of cuts to our list to try to get it more

 13      narrowly focused that they weren't doing.                         Their

 14      challenge was broader than ours.

 15                        And again, it's not that I necessarily

 16      disagree with their philosophy in terms of some

 17      major problem with it, it's just that the way they

 18      were approaching things and the way we were

 19      approaching things was totally different, and I

 20      just wanted everyone to understand why that was

 21      the case, and I wasn't allowed to make that

 22      distinction.



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                                                                           Page 111
   1               Q       So did Ms. Engelbrecht refer to the

   2     challenges that you and Mr. Somerville were

   3     working on on that call?

   4               A       Unless she did it in the context of

   5     "Derek's team," or something like that, I don't

   6     specifically recall -- I don't specifically recall

   7     the conversation that occurred.                       It's been some

   8     time, and I'm very blurry on the details of the

   9     call, so I don't want to speculate on what that

 10      was, but I will say I was dissatisfied with any

 11      distinction being drawn between the challenges,

 12      and I think distinctions clearly should have been

 13      made and weren't.

 14                Q       Okay.       And in this text message you

 15      say that you PMed her, which I assume is

 16      Ms. Engelbrecht, and said you wanted to talk about

 17      the challenges, which I think you've referred to

 18      before.

 19                        What was the content of that message

 20      that you sent to her?                Was it just that you wanted

 21      an opportunity to speak, or was it something else?

 22                A       For clarity, that was a private



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                                                                           Page 112
   1     message within Zoom, so I'm unaware of any way

   2     that I could produce that for discovery.

   3                       And I don't recall the exact language

   4     that I used, so I'm going to just sort of

   5     paraphrase here, but in general, I think the gist

   6     of it was, hey, I think it's important everybody

   7     understand the differences between the challenges

   8     and why they're different.                    And I believe, if I'm

   9     recalling it correctly, the response was, "No, we

 10      can have that conversation offline," or something

 11      to that effect.

 12                Q       And did you ever have that

 13      conversation offline?

 14                A       No.

 15                Q       Have you or Derek ever talked to

 16      Ms. Engelbrecht or anyone at True the Vote about

 17      how you disagreed with the philosophy that you

 18      were referring to before?

 19                A       I don't know if he has or not.                  He had

 20      more -- he interfaced with them more than I did.

 21                        I assume he may have had that

 22      conversation.          I don't recall specifically if he



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                                                                           Page 113
   1     did or didn't.

   2                       I don't recall having that

   3     conversation other than the message that I sent in

   4     the call itself.

   5               Q       Okay.       And here you say, "I want to

   6     make sure everyone understands why."

   7                       Can you elaborate on who you meant by

   8     "everyone"?

   9               A       In that context, I believe I was

 10      talking about the folks on the call, but there

 11      probably are folks not on the call that I would

 12      have wanted to know the differences.

 13                        There were a lot of folks that wanted

 14      to help, and, you know, I wanted any of those

 15      folks to know the differences between the

 16      challenges.         And if they wanted to file one in

 17      their county, I wanted them to be able to have the

 18      understanding to choose the one they agreed with

 19      the most.

 20                Q       Okay.       Mitch, could you go to page 161

 21      and 162?

 22                        MS. SIEBERT:            Ms. Meng, can we take a



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                                                                              Page 114
   1     short five-minute break, please?                         If you'd like to

   2     finish this question, that's fine, but --

   3                       MS. MENG:           That's okay.            I have a few

   4     questions off of these two pages, so ...

   5                       MS. SIEBERT:             Okay.       Yeah, that'd be

   6     great.        Thank you.

   7                       THE VIDEOGRAPHER:                 We are going off

   8     the record.         The time is 11:37.

   9                       (A break was taken.)

 10                        (Joel Ramirez has joined.)

 11                        THE VIDEOGRAPHER:                 We are going back

 12      on the record.           The time is 11:45.

 13                        BY MS. MENG:

 14                Q       So, Mitch, do you mind just bringing

 15      up Exhibit 7, pages 161 to 162?                        Thank you.

 16                        So Mr. Davis, as we've been

 17      discussing, this is a text message spread between

 18      you and Mr. Somerville, and you'll see that on

 19      page 161, both of you characterize your reaction

 20      to the call as being pissed.

 21                        Do you see that?

 22                A       Yes.



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                                                                           Page 115
   1               Q       Now, I know you've covered sort of

   2     your feelings about the call.                      What do you recall

   3     about Mr. Somerville's reaction that he was also

   4     angry about this call?

   5               A       I recall he was also annoyed by the

   6     use of "Derek's team," and he seemed to share my

   7     displeasure with the fact that I wasn't allowed to

   8     draw the distinction between the efforts.

   9               Q       Okay.       And you'll see that between --

 10      on the text message that spans 161 and 162, you

 11      say, "Our challenge is actually in the Trump

 12      lawsuit.       Theirs is not and under GA law cannot

 13      be."

 14                        Can you elaborate on what you were

 15      referring to here?

 16                A       I don't think I stated that very well.

 17      I probably should have said my analysis is

 18      actually in the Trump lawsuit.                       That would have

 19      been the better way to put it.                       And, of course, in

 20      context, that analysis was in the context of the

 21      general election, not the challenge.

 22                        The analysis -- even though those were



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                                                                             Page 116
   1     two separate databases, the analysis underlying

   2     them, in terms of identifying people with

   3     residency issues, was consistent within

   4     limitations between the two.

   5                       I guess what I was trying to say there

   6     is the philosophy behind the analysis that I've

   7     done is contained in the Trump lawsuit, whereas

   8     the philosophy underlying True the Vote's isn't,

   9     and can't be, because not everybody on

 10      True the Vote's challenge actually cast ballots in

 11      the general election, and/or the runoff election

 12      hadn't happened yet, so ...

 13                Q       Okay.       And here you also say, "[S]he

 14      literally didn't want to let me even speak and I

 15      asked twice.         Once privately and once publicly."

 16                        Are you referring privately to the

 17      private message that you had sent her, and

 18      publicly referring to on the call?                          On the broader

 19      call, you asked to be heard?

 20                A       Yeah.       I had private messaged her

 21      wanting to talk about it, and when that didn't

 22      work out, I asked again publicly, hoping that it



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                                                                           Page 117
   1     would prompt a discussion.                    And if I recall

   2     correctly, I think she responded by saying, "We

   3     can discuss that offline," or something to that

   4     effect, but I got shut down, basically.

   5               Q       Okay.       And so going back to something

   6     that you had said about True the Vote's

   7     methodology or philosophy that you were just

   8     speaking about, you referred to sort of like the

   9     three categories of voters, and that

 10      True the Vote's analysis was different because

 11      they didn't filter out people who had already been

 12      through Secretary of State reviewer investigation.

 13                        Can you elaborate on what you meant

 14      there?

 15                A       Well, there were a number of -- as

 16      we've discussed ad nauseam here, there were a

 17      number of different categories of folks that we

 18      eliminated from our challenges that I'm not aware

 19      of True the Vote eliminating.                      Perhaps they did.

 20      I don't know.

 21                        I didn't participate in creating their

 22      challenge, I didn't have any input into their



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                                                                           Page 118
   1     challenge, I didn't -- I wasn't kept in the loop

   2     when they developed their challenges, so I don't

   3     know what they did or didn't do.

   4                       I do know what we did and didn't do,

   5     and there were clear differences between the two,

   6     and I just felt like people should be aware of

   7     those differences.

   8               Q       And what specifically was the category

   9     related to Secretary of State review and

 10      investigation that you believe you took out of

 11      your analysis that True the Vote did not?

 12                A       Well, it's important to know from the

 13      get-go that the investigation that I gave to the

 14      Secretary of State's office was focused

 15      specifically on the general election and not the

 16      runoff election.            So there's clear differences

 17      there in terms of the selection criteria for who

 18      would be on there.

 19                        Also, with regard to the investigation

 20      that I gave the Secretary of State's office for

 21      the general election, I did not include changes of

 22      address to out of state -- let me rephrase that.



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                                                                           Page 119
   1                       I didn't include people who had filed

   2     changes of address to addresses outside of the

   3     state of Georgia at all in that data that I gave

   4     them to investigate.

   5                       One of the reasons for that is because

   6     they don't really have the ability to investigate

   7     voters outside of the state of Georgia unless,

   8     perhaps, they get data back from ERIC on those

   9     voters, and I wasn't sure when they planned on

 10      doing another data processing run with ERIC, and I

 11      didn't include those.

 12                        And in answering your question, I'm

 13      assuming you're aware of what ERIC is?

 14                Q       I'm not.         If you could just clarify

 15      for me, that would be great.

 16                A       ERIC is the Election Registration

 17      Information Center.              My understanding is that it

 18      is an NGO that was created by the Pew Foundation,

 19      and the member states submit data to ERIC, and

 20      when they do -- well, Georgia has become a member

 21      after Brad Raffensperger was elected.

 22                        And when they submit data to ERIC,



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                                                                           Page 120
   1     there's a hashed version or an encrypted version

   2     of the voter's full date of birth, and I believe

   3     Social Security number is in there, perhaps

   4     driver's license data.                 I'm not entirely sure

   5     about that, but basically it helps ERIC compare

   6     voter rolls from the member states to find people

   7     who may be registered and/or voting in two

   8     different states or three different states or five

   9     different states, or whatever the case may be.

 10                        As far as I'm aware, that's the only

 11      vehicle that the Secretary of State has for

 12      identifying those voters, and for that reason --

 13      and since I do have confidence that those checks

 14      are being done, I did not include people who filed

 15      changes of address to addresses outside of the

 16      state of Georgia at all in that investigation.

 17                Q       Okay.       And your discussion of this

 18      information previously, were you suggesting that

 19      that information was left in with True the Vote's

 20      challenges that they had put together?

 21                A       Well, I think that it's really

 22      important to be keenly aware of the context here.



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                                                                                Page 121
   1                       Asking the Secretary of State's office

   2     to investigate votes cast in the general election

   3     with potentially serious residency issues is not

   4     the same thing as challenging voters.                             That's a

   5     completely different process with its own set of

   6     statutes governing those challenges.

   7               Q       Sure, but the identification of

   8     individuals with potential residency issues is

   9     common with investigating the general election and

 10      looking at voters that you might challenge for the

 11      runoff; is that correct?

 12                A       Well, the investigation of the data

 13      that I gave the Secretary of State's office would

 14      be conducted by the Secretary of State's office,

 15      whereas when a voter files a challenge in the

 16      county that they live in, that's handled by county

 17      elections officials, if they accept the challenge

 18      at all.

 19                        So in my mind, they're very different

 20      processes, and since the dates of those elections

 21      were different and the context these elections

 22      officials were being asked to investigate were



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                                                                           Page 122
   1     very different, you know, I view those as very

   2     separate and distinct efforts.

   3               Q       Okay.       And we've discussed the fact

   4     that, you know, on this call, and in other

   5     contexts, you were aware that the voter challenges

   6     that you and Mr. Somerville had been working on

   7     were different than what True the Vote had been

   8     working on.

   9                       What's your basis of understanding the

 10      analytical differences between those two sets of

 11      challenges?

 12                A       I don't recall where it was that I

 13      heard what the model was for their challenges.                       It

 14      may have been on that phone call, but at some

 15      point it became my understanding that they were

 16      challenging voters who had filed changes of

 17      address to addresses outside the state of Georgia,

 18      and challenging voters who had filed challenges of

 19      address to another county more than 30 days before

 20      the election.

 21                        My understanding may be correct or

 22      incorrect, but that was the understanding that I



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                                                                           Page 123
   1     recall having at the time.

   2               Q       And did anyone, either Ms. Engelbrecht

   3     or Gregg, or anyone that you had been in

   4     communication with, at any point let you know that

   5     their methodology was different than what you had

   6     just conveyed?

   7               A       I don't recall hearing anything along

   8     those lines from anyone.

   9               Q       Okay.       Mitch, do you mind pulling up

 10      pages 149 and 150 in this text message?

 11                        So Mr. Davis, you'll see this is still

 12      the text conversation between you and

 13      Mr. Somerville.           If I could direct your attention

 14      to a message that Mr. Somerville sent in the

 15      middle of page 149, "I just read the True the Vote

 16      press release and I'm pretty pissed."

 17                        Do you see that?

 18                A       I do.

 19                Q       And then he says, "Trying to get you

 20      in there, but also to have it characterize our

 21      work differently."

 22                        Did I read that correctly?



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                                                                           Page 124
   1               A       It appears so.

   2               Q       Okay.       And then on the following page,

   3     you respond about, you know, I'll leave that to

   4     you, and you talk about credit.

   5                       Can you elaborate on what you and

   6     Mr. Somerville were discussing in terms of what

   7     credit you were seeking or hoping to receive or

   8     not receive?

   9               A       My understanding is that what he was

 10      referring to was a previous version of the press

 11      release other than the one that was published.

 12      I've never seen that.                I don't know what was in

 13      it.    I wasn't particularly concerned about it one

 14      way or the other.             I trusted Derek to handle it

 15      appropriately, and just kind of went on.

 16                        You know, as I said, I wasn't real

 17      concerned about who does and doesn't get credit

 18      for this, that, and the other.                       I really wasn't.

 19      I didn't want to be mischaracterized, and I

 20      trusted that Derek would see to it that that

 21      wasn't going to happen, but I also had expressed

 22      to him previous that, you know, I didn't want our



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                                                                            Page 125
   1     efforts co-opted because they were completely

   2     different efforts.

   3                       So I guess what I was basically saying

   4     there is, you know, I trust you to handle it.

   5     Take care of it, you know.                    So that's where it was

   6     left.

   7               Q       And was the credit that you two are

   8     referring to here for doing analysis, or for

   9     putting together challenge lists?                         What was the

 10      context of the credit?

 11                A       I really wasn't even concerned about

 12      credit.       For whatever reason, Derek seemed to be,

 13      and I was content to just leave that issue in his

 14      hands and let him deal with it.

 15                Q       Mitch, do you mind going to page 172

 16      and 173?

 17                        Mr. Davis, in the middle of page 172,

 18      do you see a text exchange where you ask for the

 19      name of the True the Vote lady?

 20                A       Yeah.

 21                Q       Can you elaborate on why you were

 22      asking for her name?



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                                                                               Page 126
   1               A       I don't remember, but for whatever

   2     reason, her name had escaped me.                        Her last name

   3     escaped me during this deposition for a minute or

   4     two, and I referred to her in a different context.

   5                       But for whatever reason, at that

   6     particular moment, it had escaped my memory, and I

   7     wanted it for some reason, so I asked.

   8                       I know it seems like a silly question,

   9     but that's how little -- I really was not heavily

 10      involved with these people.                    It's not like her

 11      name was on the tip of my tongue every day, or we

 12      talked often, or interfaced a lot.                          We just

 13      didn't.

 14                        He, Derek, primarily dealt with her,

 15      and anybody else related to True the Vote, if he

 16      dealt with them at all.

 17                Q       You then go on to say, "Please call

 18      when you can."          Do you remember speaking to

 19      Mr. Somerville after this text exchange?

 20                A       I don't.         You know, obviously, if you

 21      go through this entire thread, there's a whole lot

 22      of "please call when you can" because apparently



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                                                                                 Page 127
   1     there was something either he or I wanted to

   2     discuss in depth and didn't want to sit there and

   3     type it all into a text message.                        There's a lot of

   4     that all the way through these text messages.

   5                       I would assume we spoke.                        I don't

   6     recall specifically if we spoke.                        I can't

   7     really --

   8               Q       And do you recall -- okay.

   9                       And do you recall the content, if you

 10      had had a call, what that would have been about?

 11                A       I don't.         I'm sorry.

 12                Q       At the top of the screenshot on

 13      page 173, there's a text message from

 14      Mr. Somerville referring to a call scheduled for

 15      10:00 a.m. that was postponed.

 16                        Were you on that call?

 17                A       I don't know what call that

 18      references, or who it was with, or really anything

 19      about it.

 20                Q       Okay.       Mitch, can you go to page 180

 21      and 181?       So Mr. Davis, you'll see at the bottom

 22      of 180, extending onto 181, you say, "Derek, I am



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                                                                                   Page 128
   1     telling you you need to send me Catherine's

   2     contact info and get us on a cal [sic] ASAP."

   3                       Do you see that?

   4               A       Did you have a question or --

   5               Q       Yeah.       I just wanted to see if you had

   6     located the text message I was speaking about.

   7               A       I see it, yes.

   8               Q       Okay.       Why did you urgently need

   9     Ms. Engelbrecht's contact information?

 10                A       I don't remember.                It may have been

 11      about my concerns about the website.                              I just don't

 12      recall specifically what that was about.                             It's

 13      been quite some time.

 14                Q       And you refer here to a call that you

 15      were requesting between the three of you ASAP.

 16                        Do you remember if a call ever

 17      resulted from your text message here?

 18                A       I don't recall having a call.                       I

 19      suppose it may have been possible that we did, but

 20      I don't recall any specifics about any call.

 21                Q       Mitch, can you go to page 189 and 190?

 22      Actually, Mitch, can you just scroll up a little



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                                                                           Page 129
   1     bit on 189 to the previous page to get a time and

   2     date stamp?         Okay, perfect.

   3                       So Mr. Davis, you see this a text

   4     conversation starting on December 30th?

   5               A       Okay.

   6               Q       Okay.       And you send Mr. Somerville a

   7     text that reads, "Derek we need to stop this.                       If

   8     they publish they will be flooded with defamation

   9     complaints."         Do you see that on page 189?

 10                A       I do, yes.

 11                Q       So when did you first hear about this

 12      publishing effort that you referred to?

 13                A       I don't remember when or where or what

 14      the context was, but I had heard there was going

 15      to be a website launched that voter data was to be

 16      loaded into that was going to collect information

 17      from the public to be used for challenges, and my

 18      perception at the time was that the complaints for

 19      the public were going to be public as well.

 20                        Since that time, I've actually gotten

 21      on that website, and they have a flowchart on

 22      there about how it works, and I believe I may have



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                                                                           Page 130
   1     misunderstood what they were doing.

   2                       It does not appear that -- while it

   3     does appear publicly available voter data is being

   4     used, it doesn't appear to indicate that

   5     complaints from the general public are going to be

   6     published to the public.                  It indicates instead

   7     that those concerns would be compiled into

   8     challenges for elections officials, which would be

   9     the proper venue for those concerns.

 10                        So my panic, if you will, over that

 11      may have been misplaced.                  My concerns may have

 12      been misplaced.

 13                Q       And so who did you hear about this

 14      publication effort from in the first instance?

 15                        MS. SIEBERT:            And I'm just going to

 16      object again to this line of questioning as

 17      irrelevant.

 18                        Mark, you can go ahead and answer, but

 19      I just wanted to assert that objection over this

 20      line of questioning.

 21                        THE WITNESS:            I honestly don't

 22      remember.       I think you asked that previously, and



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                                                                                 Page 131
   1     I don't remember where I heard about it.                              It's

   2     been quite some time, and I just can't recall.

   3                       BY MS. MENG:

   4               Q       And you previously stated that you've

   5     been on this website before.

   6                       Do you know the URL address or the

   7     name of the website?

   8               A       I went just the other day on the

   9     True the Vote website, and it was under one of the

 10      categories, and I had found it, and I read the

 11      information that was contained on the website, and

 12      I saw their flowchart, and I was definitely very

 13      concerned about the approach that they were taking

 14      when I first heard about it, but I may have

 15      misunderstood what their intentions for the

 16      website were.

 17                Q       So I think you previously stated the

 18      website would publicize names and information of

 19      voters; is that correct?

 20                A       My understanding is that they intended

 21      to load the voter file in there, and of course,

 22      the voter database is public record.                              So if that's



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                                                                           Page 132
   1     the extent of the information that they're

   2     publishing, if it's publicly available data, I

   3     don't see anything to be concerned with.

   4                       I would be concerned if the input from

   5     the public into someone's residency or status or

   6     what have you, you know, if input, or for lack of

   7     a better word, allegations were made from someone

   8     in the public and were published, I'd be concerned

   9     about that.         The proper venue for those kinds of

 10      concerns would be local or state elections

 11      officials, but it doesn't appear to be the case.

 12                        So again, I think my initial concerns

 13      about that whole effort may have been misplaced.

 14                Q       And so what was the nature of your

 15      concern about the fact that those allegations, as

 16      you had called them, might be public?

 17                        MS. SIEBERT:            I believe -- objection,

 18      and asked and answered.                 Mark, go ahead.

 19                        THE WITNESS:            Well, let's say John Doe

 20      is listed at 123 Main Street, and another voter

 21      says John moved to Alaska five years ago, he lives

 22      there now, and that wound up not being the case,



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                                                                                     Page 133
   1     that would be a concern.

   2                       Or if somebody popped off and said

   3     Jane Doe has been voting illegally for three

   4     years.        You know, if those allegations aren't

   5     accurate, I'd definitely have concerns about them

   6     being published.

   7                       You know, the proper venue for those

   8     kinds of concerns would be our elections

   9     officials.

 10                        BY MS. MENG:

 11                Q       Okay.        And can you provide a little

 12      bit more information about your statement here

 13      about them being flooded with defamation

 14      complaints?

 15                A       Well, if you accuse someone of a crime

 16      and they haven't committed a crime, that's

 17      defamation, isn't it?

 18                Q       And what was your understanding of the

 19      motivation behind True the Vote creating this

 20      website?

 21                        MS. SIEBERT:             Objection.              You're

 22      asking him to testify to somebody else's



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                                                                           Page 134
   1     motivation.

   2                       THE WITNESS:            Yeah, I really wouldn't

   3     want to speculate on what they were trying to

   4     accomplish.

   5                       It appears that they were trying to

   6     provide information on the voter rolls to the

   7     public so that the public could review it for

   8     potential personal knowledge they may have with

   9     regard to voters that are on the list.

 10                        In my neighborhood, for example, you

 11      know, I have personal knowledge about people who

 12      sold their home and moved elsewhere and things of

 13      that nature.         I wouldn't want to publish

 14      information on a specific voter to the general

 15      public.

 16                        If I had residency concerns about one

 17      of my neighbors, the appropriate venue for that,

 18      like I said before, would be our elections

 19      officials.

 20                        BY MS. MENG:

 21                Q       And so did you ever speak to

 22      Ms. Engelbrecht about this website?



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                                                                           Page 135
   1               A       I had sent her a text message that I

   2     quoted in this thread, and if I recall correctly,

   3     she responded by picking up the phone to discuss

   4     it.    And I did not disclose that call previously

   5     because, until I saw this, I had completely

   6     forgotten about it.

   7               Q       And did she communicate anything to

   8     you about the purpose of the website?

   9               A       I probably shouldn't get into that.

 10      Let me think about that one for a minute.

 11                        She did mention that it had all been

 12      vetted with the lawyers, and I don't think --

 13      I think if I say anything else, I start treading

 14      on attorney-client privilege type stuff.

 15                Q       So Mr. Davis, I'm simply asking you

 16      what Ms. Engelbrecht said to you.                         That

 17      information is not privileged, the fact that she

 18      communicated that to you --

 19                A       She said that it had all been --

 20      I'm sorry to interrupt.

 21                Q       I was just going to say the fact that

 22      she communicated it to you as a third party means



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                                                                           Page 136
   1     that she waived whatever privileges applies.

   2               A       I recall her assuring me that their

   3     plans had been vetted with legal counsel.

   4               Q       Sure, but did she say anything about

   5     the motivations or the purpose of the website?

   6               A       Well, my understanding generally of

   7     the purpose of the website was that it was to help

   8     make voter data public so that it could be easily

   9     accessed by the public and reviewed by the public,

 10      so that if the public saw issues with the voter

 11      rolls, they could provide comments to

 12      True the Vote that could be compiled together and

 13      used to file challenges with the local elections

 14      officials, if there were issues that needed to be

 15      addressed.

 16                        That was my general understanding from

 17      the get-go.         I don't recall specifics of the

 18      conversation, but I would imagine she reiterated

 19      those goals.

 20                Q       Mitch, if you could scroll and put 190

 21      and 191 on the screen.

 22                        So Mr. Davis, do you see here you, in



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                                                                           Page 137
   1     relaying a copy of a text message to

   2     Mr. Somerville, you say, "You can do it after the

   3     election with a short list of guaranteed

   4     defensible examples.               I can help with that."

   5                       Do you see that?

   6               A       Yes.

   7               Q       So can you elaborate on what you meant

   8     by a short list of guaranteed defensible examples?

   9               A       Well, if she, through the website,

 10      identifies voters that may have voted illegally,

 11      and those voters get referred to the Secretary of

 12      State's office for an investigation, and that

 13      investigation concludes that they did vote

 14      illegally and they're referred to the

 15      Attorney General for prosecution, that's public

 16      record.       That's what I had in mind in those

 17      comments.

 18                Q       Okay.       And can you give us a little

 19      bit more detail on your offering to help with

 20      that?

 21                A       Well, I assume that she knows how to

 22      submit a challenge, and she knows that she can



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                                                                           Page 138
   1     also request an investigation from the Secretary

   2     of State's office, and if she needed to contact

   3     people to do that with, I could have given that to

   4     her.

   5                       I didn't mean that I was going to get

   6     involved and do all the heavy lifting, but I

   7     certainly could offer her some of my advice on how

   8     to proceed on those things.

   9                       But I think the point I was trying to

 10      make there is that it's important to be pretty

 11      careful before you start making public allegations

 12      against any particular individual voter, and it's

 13      best not to do that.               As we've discussed

 14      previously, the appropriate venue for those

 15      complaints would be our elections officials rather

 16      than taking it public.

 17                Q       Okay.       And on page 191, that text

 18      message states, "But if you do it now you're

 19      literally making good on one of the 'Threats'

 20      alleged in their complaint."

 21                        Do you see that?

 22                A       Right.



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                                                                           Page 139
   1               Q       What complaint are you referring to?

   2               A       Yours.

   3               Q       The one in this case, correct?

   4               A       Yes.

   5               Q       Okay.       And did you believe the

   6     publishing of voter challenge or allegation

   7     information would be threatening?

   8               A       Well, we did not publish challenge

   9     information on particular voters.                         That

 10      information went to the appropriate venue.

 11                        Now, the public can request -- you

 12      know, file an Open Records Request and obtain that

 13      information, but that's not us publishing it.

 14                Q       Okay.       And so, therefore, you had no

 15      concerns if that information ended up being

 16      public, as long as you yourself was not publishing

 17      it?

 18                A       I don't have any control over Open

 19      Records Requests to county governments.

 20                        I don't know what else to say.

 21                Q       And so in this message when you're

 22      referring to the threats and the public



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                                                                                 Page 140
   1     information, you're referring to what exactly?

   2     The information that you believed at the time

   3     would be revealed on this website?

   4               A       Well, your organization has alleged

   5     that True the Vote and myself has intimidated

   6     voters.       I'm not aware of any contact that we've

   7     engaged in that would constitute intimidation of

   8     any particular voter.

   9                       Challenging a voter on its face I

 10      don't think is voter intimidation.                          That is a

 11      First Amendment petition to your government for

 12      redress of grievances, and it is specifically

 13      protected under Georgia law in 21-2-230.                            A

 14      challenge is a lawful vehicle for petitioning your

 15      government for redress of grievances.                             I don't

 16      believe that constitutes voter intimidation.                             I

 17      guess we're going to see what the court system

 18      believes on that.

 19                        But as long as challenges are handled

 20      appropriately, and we're not publishing them to

 21      the public or trying to intimidate voters, I don't

 22      see any issue with them.                  It seemed perfectly



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                                                                           Page 141
   1     lawful to me.

   2               Q       And so just focusing on -- putting

   3     aside challenges and just focusing on what at the

   4     time you had described your understanding of what

   5     would be made public on this particular website,

   6     what information specifically did you perceive to

   7     be making good on the threats in the Complaint in

   8     this case that would have appeared on that

   9     website?

 10                A       I feel like we've been over this

 11      repeatedly, but I'll state it again.

 12                        My initial understanding of the

 13      website was that it was going to be publishing

 14      voter data, which is public record, and collecting

 15      allegations against individual voters from the

 16      public, and my fear was that those were going to

 17      be published on the website as well.

 18                        Since that time, I've come to believe

 19      that my concerns were misplaced and that's not

 20      actually going to be happening because the website

 21      seems to be indicating that those issues with any

 22      particular voter are going to be gathered and



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                                                                           Page 142
   1     turned into a challenge that would go to the

   2     appropriate venue, which would be elections

   3     officials.

   4               Q       And so just to be perfectly clear,

   5     there's two types of information that would be on

   6     the website.         One is voter information, which is

   7     public, and you have expressed no concerns about.

   8                       But the second is the allegations, and

   9     that is what you had concerns about, correct?

 10                A       If those kinds of allegations were

 11      published on the website, I'd have concerns, yes.

 12                        I wouldn't do it.

 13                Q       Okay.       And so from this communication

 14      thread, it looks like you sent a message to

 15      Ms. Engelbrecht, Mr. Somerville, and of course you

 16      were copied on that as well, correct?

 17                A       That particular -- what's the word?

 18      That particular comment there that we're talking

 19      about here was where I had cut and paste a text

 20      message that I sent to Catherine.

 21                        So from "Catherine please reconsider

 22      this launch of the website" on down, that's



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                                                                             Page 143
   1     exactly what I said to Catherine, and then Derek

   2     responded, "You texted me bud."                       And I said,

   3     "Copied you bud."

   4                       You know, in other words, I was

   5     letting him know that I didn't misfire that text.

   6     I had actually sent that text, and then copied

   7     that text so Derek could read it.

   8               Q       I see.       And I believe you stated

   9     before Ms. Engelbrecht called you.                          Did she at all

 10      respond to your text message that you had stated

 11      here that you had sent her?

 12                A       I don't recall, but having seen this,

 13      my memory was refreshed, and I do recall a brief

 14      conversation that we had following that text

 15      message where she assured me that they had gotten

 16      legal input on the launch of the website and the

 17      plans for the website and it was all okay.

 18                        That's pretty much where that got

 19      left.     I don't know if I really have more to add

 20      on that.

 21                Q       Okay.       Mitch, can we go to pages 192

 22      and 193?       Okay.



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                                                                           Page 144
   1                       Directing your attention, Mr. Davis,

   2     to page 193, it says here, "[T]hey're literally

   3     sitting there defending a challenge that didn't

   4     even come from True the Vote."

   5                       Do you see that?

   6               A       Yes.

   7               Q       Okay.       And can you clarify who the

   8     "they" you're referring to in this text is?

   9               A       I don't remember, but what I do

 10      remember is that the -- that I was referring to

 11      the challenge down in Muscogee, and that challenge

 12      didn't come from either True the Vote or me and

 13      Derek, so I think that was the point I was making,

 14      and I really don't recall who the "they" was in

 15      that part of the message.

 16                Q       Okay.       So pivoting now to another

 17      topic, Mr. Davis, what discussions, if any, have

 18      you had with officials or individuals in the

 19      Secretary of State's office regarding voter

 20      challenges and list maintenance?

 21                        I know you've before referred to the

 22      May 2011 conversations about investigations, but



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                                                                           Page 145
   1     putting that aside, what other conversations have

   2     you had?

   3               A       Specifically relating to the

   4     challenges in the runoff?

   5               Q       Let's start with that, yes.

   6               A       Other than my Open Records Request and

   7     problems with that Open Records Request, I don't

   8     recall any.         And even in that context, the

   9     discussions were referencing obtaining the data,

 10      and then a subsequent problem with the data that I

 11      did obtain.

 12                        I don't recall getting into why I

 13      needed the data with anyone, but does that answer

 14      your question?

 15                Q       Sure.       So did you ever have any

 16      conversations about list maintenance specifically

 17      with anyone in the Secretary of State's office?

 18                A       Oh, yeah.          Many, many, over decades.

 19                        MS. SIEBERT:            I'm sorry, Ms. Meng,

 20      just to reiterate, we would object to the scope of

 21      this as far as timing.                 You know, Mr. Davis has

 22      testified he's been involved in this for decades,



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                                                                           Page 146
   1     in this election integrity and voter integrity

   2     effort, and so we would object to anything beyond

   3     the scope of this actual lawsuit here.

   4                       BY MS. MENG:

   5               Q       Sure.       So Mr. Davis, let's just

   6     specifically ask in relation to the 2020 runoff,

   7     did you have any conversations about list

   8     maintenance with the Secretary of State's office?

   9               A       Let me highlight one in context, and

 10      then address the rest of your question.

 11                        Early on, I filed an Open Records

 12      Request for a certified copy of the official

 13      qualified list of electors for the runoff.                        I

 14      filed that pretty early on hoping that I would be

 15      one of the first to obtain a file.

 16                Q       Mm-hmm.

 17                A       When I received a response to that

 18      Open Records Request, which was far too late to

 19      have been useful for the challenges, one of the

 20      key fields in the voter data was missing, and

 21      quite frankly, appeared to have been edited out,

 22      and I had a major concern about that, and I



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                                                                               Page 147
   1     brought it to their attention, and they promptly

   2     replaced the file.             So I have it.              Was never

   3     actually able to use it, but I do have a copy of

   4     it.

   5                       Other than that, I don't recall

   6     interfacing with the Secretary of State's office

   7     over the runoff election at all.                        I suppose I

   8     could be wrong.           There was a lot going on at the

   9     time.     There may be something I have forgotten,

 10      but nothing comes to mind.

 11                Q       Okay.       And what was the category that

 12      was missing in that record?

 13                A       Date last changed.                 And the reason

 14      that's important is because what I usually will do

 15      is I'll build an index on that field, and then

 16      I'll drop down to the bottom to try to see the

 17      date of the last change that was made to the file.

 18                        If it's out of scope for the Open

 19      Records Request, even if the list comes with

 20      certification, I'd have major problems, and I was

 21      highly suspicious when it was edited.

 22                        My Open Records Request for the



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                                                                           Page 148
   1     certified copy of the voter file for the general

   2     election was just hideously screwed up by the

   3     Secretary of State's office, and for whatever

   4     reason, they chose to quickly correct the

   5     problem -- the one problem that I found with the

   6     qualified list of electors -- certified copy of

   7     the qualified list of electors for the runoff.

   8     They quickly corrected the one issue I identified

   9     there, but the numerous issues that happened with

 10      the file for the general election, to this day,

 11      have never been addressed.

 12                        So anyway, other than problems with my

 13      Open Records Request, I don't remember talking

 14      with anybody at the Secretary of State's office

 15      about the runoff at all.

 16                Q       Okay.       Mitch, if we could stay on this

 17      exhibit and go to page 16.                    Thank you.

 18                        So Mr. Davis, you see that this is

 19      still the text message thread with you and

 20      Mr. Somerville; is that correct?

 21                A       Yes.

 22                Q       Okay.       And this is a text message from



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                                                                                 Page 149
   1     around -- or on November 26, 2020?

   2               A       Mm-hmm.

   3               Q       And here you state that you're having

   4     doubts about, quote, "this Morgan guy."

   5                       Who is Morgan?

   6               A       He's an activist that I heard from

   7     fairly early on, Morgan Warstler, if I'm

   8     pronouncing his last name correctly.                              I don't know

   9     much about the guy, but he was hosting a call, and

 10      that was the call where I met Derek.

 11                        Anyway, I guess I was expressing that

 12      I began to have concerns about what his motives

 13      were.     He seemed to be involved in a lot of

 14      efforts that seemed more business oriented than

 15      anything else to me, and I started to question his

 16      motivation, I suppose.

 17                Q       And you state in this message that you

 18      realized he was attached to the Trump attorneys.

 19                        What about that was concerning to you?

 20                A       Well, I said, "Suddenly realizing he's

 21      attached to just one of the 'Trump attorneys,'" in

 22      quotes, there were so many Trump attorneys that I



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                                                                           Page 150
   1     heard from around that time period, they all began

   2     to run together, and I don't even recall now who I

   3     was talking about there.

   4                       But I was basically communicating to

   5     Derek that I wanted to start putting some distance

   6     between he and I and this Morgan guy.

   7               Q       Okay.       Mitch, can we go to page 23 and

   8     24?    So Mr. Davis, directing your attention to

   9     these text messages, it looks like you and

 10      Mr. Somerville are discussing getting in touch --

 11      or you having been in touch with Lin Wood and

 12      Sidney Powell.          Do you see that?

 13                A       Well, I had heard from a lawyer

 14      working with the two of them, and at the time,

 15      neither Lin Wood or Sidney Powell had been what I

 16      considered discredited, and I was not really

 17      opposed to reading them in on the residency issues

 18      that we had identified, and I think I did give her

 19      a copy of that initial analysis that I had done,

 20      and that was where that got left.

 21                        I don't recall anything more until

 22      later both Lin Wood and Sidney Powell gave Derek



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                                                                           Page 151
   1     and I a reason to quickly part company with both

   2     of them.       They reached out a number of times, and

   3     we weren't interested.

   4               Q       Mitch, can you go to 67 and 68?

   5                       So Mr. Davis, it seems like here you

   6     and Mr. Somerville are discussing Powell's team

   7     again, and it says that -- Mr. Somerville says

   8     that the individual or contact at Powell's team

   9     was going to be calling back in a minute, and he

 10      said that he would tell them to pack sand.

 11                        Can you just elaborate a little bit

 12      about the context for that text?

 13                A       I don't remember all this super

 14      clearly, but as I said, originally, I didn't have

 15      a problem with either Lin Wood or Sidney Powell,

 16      but at some point, they sort of started going off

 17      the rails and saying a lot of things that Derek

 18      and I had super huge problems with, and we

 19      basically decided that we wanted nothing to do

 20      with either one of them.

 21                        And they had made repeated attempts or

 22      overtures at trying to get us involved in their



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                                                                             Page 152
   1     activities, and he was basically saying, you know,

   2     he's going to tell them to pack sand, which I was

   3     in total agreement with.

   4               Q       Mitch, if you go to 69 and 70.

   5                       So here, Mr. Davis, you'll see at the

   6     top of page 69, Mr. Somerville says, "told

   7     Lin Wood's team no.              They weren't happy.              F' em."

   8                       Do you see that?

   9               A       Yep.

 10                Q       So is that a continuation of the

 11      sentiment that you were just describing?

 12                A       Yes.

 13                Q       Okay.       And are you aware if anyone at

 14      True the Vote had any contact with the Trump team

 15      in any of these conversations that you guys had?

 16                A       Not that I'm aware of, and I kind of

 17      doubt there would have been because their interest

 18      was in the residency issues uncovered in regards

 19      to the general election.

 20                        Their focus was the general election,

 21      whereas True the Vote was more focused on the

 22      runoff election that was coming up.



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                                                                                    Page 153
   1                       So I don't know if they made overtures

   2     to True the Vote or not, frankly.                         It's difficult

   3     for me to imagine that they would have.

   4               Q       So, Mitch, do you mind pulling up

   5     Exhibit P?        And we'll mark that as Exhibit 14.

   6                       (Davis Exhibit 14 was marked

   7                         for identification.)

   8                       BY MS. MENG:

   9               Q       Mitch, if you could just zoom in on

 10      the top half, that would be perfect.                              Great.

 11                        So Mr. Davis, can you just take a

 12      minute to skim over this document?

 13                A       Okay.

 14                Q       So the two of you mentioned some

 15      frustration or unhappiness about the Christmas Eve

 16      call.     Can you describe or elaborate on what that

 17      call was about and what was discussed?

 18                A       Well, first of all, as far as I

 19      recall, it wasn't actually Christmas Eve, it was

 20      Christmas Day eve -- in other words, the evening

 21      of Christmas Day.             And off the top of my head, I

 22      don't remember what I was even calling about, but



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                                                                           Page 154
   1     I must have caught him in a bad mood, and he

   2     popped off at me for some reason, and I was like,

   3     whoa.     You know, so I just -- he was obviously in

   4     a bad mood, and I just left him alone.

   5                       But we talked about it a day or two

   6     later and sort of patched everything up over it.

   7     I apologized for bothering him on Christmas Day,

   8     and he accepted my apology, and we moved on.

   9               Q       And it was just the two of you on that

 10      call?

 11                A       Yes.

 12                Q       Okay.       And do you have any memory of

 13      what the topic might have been that you guys

 14      disagreed about or that set him off?

 15                A       It wasn't anything that we in

 16      particular disagreed over.                    He just, for whatever

 17      reason, was very unhappy that I called him on

 18      Christmas Day eve.             It wasn't actually

 19      Christmas Eve.

 20                Q       The night of Christmas?

 21                A       It was the night of Christmas Day,

 22      so ...



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                                                                               Page 155
   1                       I didn't really think anything about

   2     calling him; we had talked on Thanksgiving.                            So I

   3     don't know why he took exception to me calling,

   4     maybe he was in the middle of doing something with

   5     his family and didn't want to be interrupted,

   6     maybe he was just in a bad mood that day, I don't

   7     know, but, you know, stuff happens like that and,

   8     you know, you can either get over it and move on

   9     or not, so ...

 10                        MS. SIEBERT:            Ms. Meng, could we take

 11      a five-minute break, please?

 12                        MS. MENG:          Sure.       I was actually going

 13      to suggest we take a ten-minute break because I

 14      know we've been going for a while, if that works

 15      for everyone.

 16                        MS. SIEBERT:            Even better.            Thank you.

 17                        THE WITNESS:            So we'll be back at

 18      12:50?

 19                        MS. MENG:          Yes.

 20                        THE VIDEOGRAPHER:                We're going off the

 21      record.      The time is 12:39.

 22                        (A break was taken.)



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                                                                           Page 156
   1                       (Uzoma Nkwonta has joined.)

   2                       THE VIDEOGRAPHER:                We are going back

   3     on the record.          The time is 12:55.

   4                       BY MS. MENG:

   5               Q       Mitch, could you pull up Exhibit 7 one

   6     more time for us?             Thank you.           And if you could go

   7     to pages 110 and 111.

   8                       Mr. Davis, you can take a moment to

   9     skim through this conversation, but I believe this

 10      is the text message conversation with you and

 11      Mr. Somerville that we've been referring to today;

 12      is that correct?

 13                A       Yes.

 14                Q       Okay, thank you.

 15                        And at the top of page 110, you'll see

 16      in a text from December 9th, you say, "Patrick

 17      called and wants to take another run at an

 18      agreement everyone can live with."

 19                        Did I read that correctly?

 20                A       Yes.

 21                Q       Okay, so a few things here.

 22                        First, can you tell me who Patrick is?



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                                                                           Page 157
   1               A       Patrick Witt.

   2               Q       And how did you know Mr. Witt?

   3               A       He was an attorney, and I believe he

   4     at the time was working with the RNC and was

   5     assigned to work with state party at the time.

   6               Q       Okay.       And how were you introduced to

   7     him?

   8               A       If I recall correctly, I had told

   9     Chairman Shafer that I was having a great deal of

 10      difficulty with my Open Records Request to a state

 11      party, which I thought was very, very important,

 12      and I think, if I recall correctly, Chairman

 13      Shafer had had Patrick call me to see if he could

 14      assist.

 15                Q       Okay.       So what's the nature of the

 16      agreement that you're referring to in this

 17      message?

 18                A       Well, as I mentioned earlier, I had

 19      been talking with a number of folks on the Trump

 20      legal team, one of which was Ray Smith, who works

 21      with the Hebert Law Firm, and they were trying to

 22      get me to sign an agreement to testify in that



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                                                                           Page 158
   1     case, and I had problems with the way that

   2     agreement was written.                 We had gone round and

   3     round a number of times over the terms of the

   4     agreement, and I still had problems with it.

   5               Q       Okay.       And so in that second part of

   6     the text message, you said, "I told him if we

   7     can't work it out I will tell them how to do what

   8     I did."       Can you elaborate on what you're

   9     referring to in terms of what you did?

 10                A       I had told them if we couldn't work

 11      out an agreement that I could live with, then I

 12      would basically just walk them through how to do

 13      the same analysis that I did so they could do it

 14      themselves.         And if my Open Records Request

 15      finally was complied with in a meaningful way, I'd

 16      be happy to give them a copy of it so they didn't

 17      have to go through all the mess of getting it that

 18      I went through.

 19                Q       And that Open Records Request would

 20      have given you the certified list you're referring

 21      to in this message?

 22                A       The Open Records Request was for a



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                                                                                Page 159
   1     certified copy of the qualified list of electors

   2     for the general election, and to this day, that

   3     Open Records Request has not been complied with in

   4     a meaningful way.

   5               Q       Okay, and one last question on this.

   6                       What was your motivation for still

   7     wanting to convey information about your

   8     methodology even if you weren't able to come to an

   9     agreement?

 10                A       Well, the fact that I didn't like the

 11      agreement that they were asking me to sign doesn't

 12      mean that those issues weren't there.                             They were,

 13      and they were legitimate issues, and they had

 14      already discussed those issues in their complaint,

 15      and I didn't want to hamstring them, even though I

 16      wasn't going to be involved.

 17                        I was content to tell them how to

 18      replicate my work.             They did have another -- a

 19      number of other analysts that were involved, some

 20      of which were cable of replicating the data

 21      processing that I did.

 22                        I didn't have a problem with sharing



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                                                                            Page 160
   1     evidence with them or anything along those lines,

   2     but the agreement they asked me to sign was not

   3     something that I could stomach.

   4               Q       And so what was in that agreement that

   5     you didn't agree with?

   6               A       I can't remember all of it, but there

   7     was stuff in there that would have transferred

   8     ownership of my work to the Hebert Law Firm, and

   9     rights to the TV and movie stuff.                         It was all kind

 10      of stuff in there that I just thought was patently

 11      absurd, and it would have put a muzzle on me.                         I

 12      wouldn't have been able to even discuss my own

 13      research without permission.

 14                        There just was a lot of stuff in that

 15      agreement I just wasn't interested in doing, and

 16      they had tried several different iterations of the

 17      agreement, and what was ostensibly the final one

 18      was still something that I wasn't going to sign,

 19      and that was where that got left.

 20                Q       Okay.       If I could just have a minute

 21      just to make sure I don't have any other

 22      questions.        We don't have to go off the record.



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                                                                           Page 161
   1                       (Pause in the proceedings.)

   2                       MS. MENG:          Okay, I think those are all

   3     the questions I have for you, Mr. Davis, today.

   4                       THE WITNESS:            Okay.

   5                       MS. SIEBERT:            I have some follow-up

   6     questions.        Do you need a break?                  I know we just

   7     took one, but just in case.                    Okay.

   8              EXAMINATION BY COUNSEL FOR DEFENDANTS

   9                       BY MS. SIEBERT:

 10                Q       Mitchell, would you mind -- well,

 11      actually, first, Mr. Davis, I know this was a

 12      while ago, but toward the beginning of this

 13      deposition, counsel questioned you regarding the

 14      independent investigation that you and Derek were

 15      interested in having on your data analysis.

 16                        Do you recall that, generally

 17      speaking?

 18                A       Yes.

 19                Q       Okay.       And in several of the answers

 20      within that section of the deposition, you

 21      referred generally to types of data that you would

 22      suppress, or that we would want to suppress those,



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                                                                           Page 162
   1     or there would be suppressions, okay?

   2                       For a non-data person like myself, can

   3     you maybe better clarify by what you meant by

   4     "suppressions" in that context?

   5               A       A similar word would be exclude, or

   6     not used, or something along those lines.

   7               Q       Okay.       All right.           So in that context,

   8     you weren't referring to any kind of, as is

   9     relevant to this case, any kind of voter

 10      suppression?

 11                A       Oh, no, and thank you for the

 12      question.       No, absolutely not.

 13                Q       Okay.

 14                A       This effort was not about suppressing

 15      anyone's vote.          This was about ensuring that legal

 16      votes were cast.

 17                Q       Okay.

 18                A       So, yeah, thank you for the question.

 19                Q       Sure.       I thought it was clear from the

 20      context, but I just wanted to make sure we were

 21      all on the same page there.

 22                        Mitchell, can you please pull up



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                                                                           Page 163
   1     Plaintiff's Exhibit 5?                 Could you make it a little

   2     bit larger?         Sorry.

   3                       Mr. Davis, does this look again

   4     familiar to you?

   5               A       Yes.

   6               Q       Okay.       Within the context of this

   7     email, as well as several other exhibits that

   8     Plaintiffs submitted here in this deposition, you

   9     spoke and testified regarding several of the items

 10      of the post challenge data analysis that you

 11      performed and submitted to the Secretary of State.

 12                        For instance, the post challenge data

 13      analysis, I believe you testified back in May of

 14      2021 you submitted to the Secretary of State,

 15      correct?

 16                A       Correct.

 17                Q       Okay.       And so that data analysis that

 18      you would have performed, that was after the data

 19      analysis that you did related to the challenges to

 20      the runoff elections; is that correct?

 21                A       That's correct.              And although there

 22      could be some overlap, that database for that



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                                                                           Page 164
   1     investigation was specifically related to votes

   2     that were cast in the general election.

   3               Q       Okay.       So would any of this post

   4     challenge data analysis have had any impact on the

   5     challenges themselves?

   6               A       Say that again.

   7               Q       Would any of the post challenge data

   8     analysis that you performed have any impact on the

   9     challenges themselves that had already been

 10      submitted in some form?

 11                A       Some of the names on the list would

 12      have been in common, but the selection criteria

 13      for the challenge and the selection criteria for

 14      the SoS investigation were different.

 15                        The investigation that I asked for

 16      from the Secretary of State's office related to

 17      the general election and to votes cast in the

 18      general election with residency issues.

 19                        And one of the primary reasons that I

 20      asked for it was because thousands and thousands

 21      of voters were coming in after the election and

 22      officially updating their own registration



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                                                                           Page 165
   1     addresses to the exact same addresses that they

   2     gave to the Postal Service when they originally

   3     moved, and that seemed to me to be pretty solid

   4     corroborating evidence that the NCOA information

   5     was accurate, and if that proved accurate, why

   6     would we doubt the Move Effective Dates that they

   7     had given to the Post Office when they originally

   8     moved.

   9               Q       Okay.       So let me give you an example

 10      just to make sure I'm understanding what you were

 11      just testifying about, okay?

 12                        Jane Doe -- not the Jane Doe that's

 13      named as a plaintiff here, but just a Jane Doe --

 14      submits a permanent change of address record to

 15      the Post Office in, let's say, June of 2020, okay?

 16                        That would have showed up on your --

 17      you know, the data analysis that you did, correct?

 18                A       Yes.

 19                Q       Okay.       And then Jane Doe then, let's

 20      say, voted in the -- and she had moved -- she had

 21      submitted and moved either outside of the county

 22      where she was registered, either to another state



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                                                                               Page 166
   1     or another county in Georgia.                      That's the

   2     assumption that I'm making, okay?

   3                       So then let's say Jane Doe voted in

   4     the county in which she was registered at.                            That

   5     would have shown up in your data analysis,

   6     correct?

   7               A       Well, to be clear --

   8                       MS. MENG:          Sorry, just to interject, I

   9     just want to object to this hypothetical.                            It

 10      assumes facts that aren't in the evidence, and

 11      it's a leading question as well.

 12                        BY MS. SIEBERT:

 13                Q       And I understand that, and I'm not --

 14      let me clarify.           Let me rephrase this, Mr. Davis,

 15      because I'm just trying to understand.                            I am just

 16      trying to understand why the testimony you just

 17      gave about the dates of the NCOA addresses and

 18      confirmation are important, okay, and trying to

 19      put it in a real-world example, but maybe that's

 20      not the best way to do it.

 21                        So somebody who -- what you're -- take

 22      me through the specific timeline of that type of



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                                                                           Page 167
   1     person that would have -- the type of voter that

   2     would have put you on alert in May when you did

   3     that post election data analysis, and specifically

   4     why the timeline is important.

   5               A       Okay.       So when I ran NCOA on the voter

   6     database, the records that had NCOA matches were

   7     flagged in the data, and then I pulled those into

   8     a file called "moved."

   9                       From that, I excluded any changes of

 10      address from October and November of 2020, October

 11      because those would have been occurring within the

 12      grace period under O.C.G.A. § 21-2-217 -- or,

 13      actually, I believe 218 -- that defines the 30-day

 14      grace period.          So I excluded any from October

 15      because they were in the grace period, or at least

 16      the vast majority were, and then I excluded

 17      November because they were irrelevant.

 18                        So what remained in that file was

 19      approximately 580,000, and all of those changes of

 20      address, the Move Effective Dates would have been

 21      before the grace period.

 22                        And I also want to clarify that none



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                                                                           Page 168
   1     of the records that I gave the Secretary of

   2     State's office to investigate involved voters who

   3     moved outside the state.                  They were only people

   4     who moved within the state, where the data

   5     indicated that they had moved from one county to

   6     another county more than 30 days before the

   7     election.

   8                       So in May, I received an update to the

   9     voter file, and when I compared the data from

 10      November to the data from May, there were over

 11      10,000 voters who had since updated their own

 12      registration to the exact same address that they

 13      had originally given to the Postal Service when

 14      they filed their changes of address.

 15                        So the reason that I did that was

 16      because, to me, that seems to be pretty strong

 17      corroborating evidence that the person did, in

 18      fact, move to the address they gave to the Postal

 19      Service; and since the Move Effective Date they

 20      gave to the Postal Service was more than 30 days

 21      before the election, they should have updated

 22      their registration to their new county, as



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                                                                           Page 169
   1     required, and they should have cast their ballots

   2     in their new county.

   3                       And one of the major reasons this is

   4     important is because, when I compared the two and

   5     the addresses matched, I was also able to pull

   6     over the person's new county and the person's new

   7     voting districts, and when I compared the voting

   8     districts to their previous voting districts, what

   9     it showed me is that people that returned to their

 10      old county to cast a ballot, 94% of them would

 11      have been offered a ballot with a state house race

 12      on it that they don't live in, about 86.5% would

 13      have been offered a chance to vote in a state

 14      senate district that they no longer lived in, and

 15      approximately 64% would have been offered the

 16      chance to cast a ballot in a congressional

 17      district that they no longer lived in.

 18                        They also could have cast ballots for

 19      county sheriff, district attorney, school board,

 20      county commission, could have even voted on tax

 21      increases that they will never have to pay because

 22      they no longer live there.



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                                                                             Page 170
   1                       So I think that's the primary reason

   2     that I asked the Secretary of State to

   3     investigate.         However, they did state that they

   4     wanted the entire list, not just the 10,000.

   5     I think actually the number was about 10,300, if I

   6     recall correctly, but they wanted to investigate

   7     even the ones that had not updated their addresses

   8     yet.

   9                       Now, since that time, in subsequent

 10      comparisons, that number continued to climb to

 11      nearly 12,000, and I have not given them those

 12      names to investigate because, quite frankly, I

 13      don't get the impression that they are serious

 14      about that investigation at all.                        I have seen them

 15      be dismissive of it, I have seen them spin it, and

 16      I've seen them try to explain it away.

 17                        Our Secretary of State is currently

 18      campaigning for reelection, and I think the last

 19      thing he wants to do is prove himself incorrect on

 20      his claims made about the election.                          It doesn't

 21      seem to be in his political interest to do so, and

 22      I do not expect that investigation to conclude



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                                                                             Page 171
   1     before his primary election.

   2               Q       Is the timeline on the initial change

   3     of address form and the voting, and then the later

   4     confirmation via the change of voter registration,

   5     important?

   6               A       I think it's important.                    The data

   7     seems to confirm that their change of address

   8     filing was accurate, and the Post Office itself

   9     has a number of different ways to verify changes

 10      of address that people file.

 11                        They get confirmation letters in the

 12      mail, they get emails, they get codes they can use

 13      to change or cancel their change of address

 14      information if they wish to.

 15                        And so when they came back and updated

 16      their own registration to the same address they

 17      gave to the Post Office, that seems to prove that

 18      to be accurate; and if their Move Effective Dates

 19      they gave were also accurate, and they did in fact

 20      move to that new residence when they told the

 21      Post Office they were moving to that new

 22      residence, then there's abundance of probable



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                                                                           Page 172
   1     cause for an investigation.

   2               Q       And Mr. Davis, it's your testimony

   3     that a certain percentage of those people that

   4     fall in that category where they had, outside of

   5     the 30-day grace window, submitted an NCOA, change

   6     of address, and then later confirmed that change

   7     of address to the same address via a voter

   8     registration change, is it your testimony that a

   9     certain percentage of those people actually did

 10      cast ballots in either the general or the runoff

 11      election in Georgia for their old county?

 12                A       The data indicates the county they

 13      were registered in, and the Secretary of State's

 14      own vote history trailers have a field in them to

 15      indicate what county they cast the ballot in, and

 16      when the county number of their registration and

 17      the county number on the vote history trailers

 18      both indicate the same county, to me, that's

 19      indicative of them casting a ballot in their old

 20      county, not the one they currently live in -- or

 21      at the time currently lived in.

 22                Q       Okay.       Who do you think -- who or what



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                                                                           Page 173
   1     entity do you think should be responsible for

   2     investigating potential issues with voter

   3     integrity or election fraud?

   4               A       The state elections board would be the

   5     proper entity.          I don't have a lot of faith in our

   6     Secretary of State doing a good job of handling

   7     this investigation.

   8                       I fully supported Brad when he ran for

   9     Secretary of State.              I spoke with him at length

 10      about these issues.              I went and met with him

 11      shortly after he was elected, and I discussed two

 12      major issues with him: number one, residency

 13      issues, such as these; number two, different types

 14      of residency issues, such as improper

 15      redistricting and those kinds of issues.

 16                        And they asked me to write him a white

 17      paper on both issues, which I did and got to them,

 18      and it appears they promptly ignored everything I

 19      had to say.         I feel like I got nothing but lip

 20      service from him, and I'm disappointed in the way

 21      he's conducted himself as Secretary of State, and

 22      I'm disappointed in the way he has handled some of



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                                                                           Page 174
   1     these issues.

   2                       I know he wrote a book, I think it's

   3     call "Integrity Matters," or something like that,

   4     but I have real doubts about whether or not that

   5     investigation actually is going to be handled with

   6     integrity.

   7                       Of course, I'm not a lawyer, but I

   8     have been told that a county district attorney

   9     could basically take a subset of that data and

 10      hand it off to a grand jury to do an investigation

 11      on a county level, but other than that, I don't

 12      know where it goes from here.

 13                        I would like to see these issues

 14      addressed.        One way that I think that could be

 15      done is the Secretary of State could get

 16      proactive, do the same analysis that I did ahead

 17      of an election, and if there's an indication that

 18      a voter has moved to a new county or a new

 19      jurisdiction or a new municipality, perhaps they

 20      could contact that voter and encourage them to

 21      take five minutes and jump online to the Secretary

 22      of State's site and make sure that their



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                                                                           Page 175
   1     registration is updated so that they can cast a

   2     lawful ballot and actually vote for the people who

   3     actually represent them.

   4               Q       Do you think that the laws in Georgia

   5     that require people to vote in the municipality,

   6     county, and even precinct in which they reside,

   7     makes sense?

   8               A       I do.       Clearly, the goal of those laws

   9     is to ensure people are voting in the right

 10      districts, and it is a bedrock foundation of our

 11      republic that we vote on the representatives who

 12      actually represent us.                 And if you're voting in

 13      districts that you don't live in, you're diluting

 14      the votes of the people who do live there.

 15                        And not only that, but as I stated

 16      earlier, there were large numbers of people

 17      similarly situated going into the general

 18      election.       The voters who obeyed the law, knowing

 19      they weren't properly registered in their current

 20      county, didn't get to vote, but apparently many

 21      voters who were in that situation chose to go vote

 22      in their old county.



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                                                                            Page 176
   1                       Now, the Secretary of State's office

   2     has said that 86% or so of the folks on that list

   3     that they're investigating had actually gone and

   4     voted in person, so that would imply that the rest

   5     of them voted absentee, either by mail or --

   6     pardon me -- either by mail or absentee in-person,

   7     also known as early voting.

   8                       So in thinking through that, for

   9     somebody to do that, if they showed up at their

 10      old county and showed them a driver's license that

 11      hadn't been updated that still had their old

 12      address on it, and claimed to live at that address

 13      when they don't, we're warned when we sign in to

 14      vote or when we ask for an absentee ballot, there

 15      are warnings advising voters not to violate

 16      21-2-562 by giving false information.

 17                        It would seem to me that folks would

 18      not have been allowed to cast ballots in their old

 19      county had they not deliberately misled elections

 20      officials about where they lived.                         I think the

 21      word used in the statute is "willingly."

 22                        So, yeah, I do have real reservations



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                                                                              Page 177
   1     about that kind of conduct.                    I would expect our

   2     Secretary of State to have the same, but he seems

   3     to keep using the 1993 NVRA as some sort of an

   4     excuse for violating state-level voting laws, when

   5     really what he's doing there is justifying why he

   6     can't keep the rolls in shape the way that he

   7     would prefer to.

   8                       And I trust that he means that, but I

   9     don't think that excuses people who knowingly went

 10      to a county they know they no longer live in to

 11      cast ballots, so --

 12                        MS. MENG:          I'm sorry, Mr. Davis, I

 13      thought you were finished.

 14                        THE WITNESS:            I think I am.           Go ahead.

 15                        MS. MENG:          I just wanted to note an

 16      objection to the foundation of Mr. Davis's

 17      testimony to the extent it seeks to offer an

 18      opinion about the law in which he hasn't been

 19      offered as an expert.

 20                        MS. SIEBERT:            Thank you.

 21                        BY MS. SIEBERT:

 22                Q       Mr. Davis, your opinion that you just



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                                                                           Page 178
   1     expressed regarding my question -- answering the

   2     question about whether those laws to you make

   3     sense, were you testifying as an attorney or as a

   4     citizen?

   5               A       As a citizen.             I'm not an attorney.

   6               Q       Thank you.           Could you please pull up;

   7     exhibit 10, Mitchell?                Would you mind blowing that

   8     up?    Mitchell, could you scroll down to the

   9     comments on this post?                 Keep scrolling, sorry.

 10      Okay, if you could stop.                  I'm sorry, Mitchell,

 11      could you scroll back up?                   Okay.

 12                        Do you recall this Facebook --

 13      testifying regarding this Facebook post earlier,

 14      Mr. Davis?

 15                A       Yes.

 16                Q       Okay.       And in general, this Facebook

 17      post, what in general did this refer to?

 18                A       It refers to large numbers of voters

 19      that are registered at commercial mail receiving

 20      agencies, and Georgia law requires that we

 21      register where we actually reside, and nobody

 22      resides in a box in a Mail Boxes Etc., or a



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                                                                           Page 179
   1     UPS store, or anything of that nature.

   2                       So it does not appear that the laws

   3     are being complied with or enforced, and it's

   4     really quite simple to identify these locations.

   5                       During CASS™ certification, there is a

   6     field called DPVCMRA.                DPV refers to the 11-digit

   7     ZIP code, which is composed of the 5-digit

   8     delivery point -- I'm sorry, the 5-digit delivery

   9     unit, the 4-digit ZIP plus four code, and the

 10      2-digit delivery point.

 11                        All combined, those point to a

 12      particular location, and the Postal Service

 13      maintains a database of those locations, and the

 14      ones that are commercial mail receiving agencies

 15      are flagged as such.

 16                        So during CASS™ certification, the

 17      CASS™ certification software will append a code

 18      call DPVCRMA -- of course, people can rename that

 19      field to whatever they want if they wish, but the

 20      data that's appended to the file will indicate if

 21      a particular location is a commercial mail

 22      receiving agency or not.



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                                                                           Page 180
   1                       Now, I have heard people try to excuse

   2     people voting at those locations if they're in the

   3     bottom of a condominium building or an apartment

   4     building or something like that, but even then,

   5     the law requires us to register at our residence.

   6     So even in those circumstances, normally those

   7     apartments or condominiums will still have an

   8     address for the actual condo or apartment.

   9                       I don't know why people try to excuse

 10      people registering in a commercial mail receiving

 11      agency because they don't live there.

 12                        And not only that, but a lot of the

 13      customers of those commercial mail receiving

 14      agencies don't live in the building above it.                       And

 15      even if they're just a mile away or 2 miles away

 16      or 3 miles away, they may be in different voting

 17      districts; and if they are, they are being given

 18      the opportunity on their ballots to vote for

 19      people who don't represent them.

 20                Q       Okay.       Speaking as a citizen, do you

 21      agree generally with the sentiment that people who

 22      break laws should receive the legal consequence of



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                                                                           Page 181
   1     their action?

   2               A       Generally, yes.              I know that some

   3     illegal voting activity that I've seen was done

   4     very deliberately; some was done by people who

   5     didn't realize they were violating the law; some

   6     was caused by incompetent elections officials.

   7                       There's various causes for it, so I

   8     would not, in general, say everybody who breaks an

   9     election law should be locked up or anything of

 10      that nature, but I think it's important that we

 11      recognize the violations of the law that occur.

 12      I think we should get to the bottom of the root

 13      causes.       I think we should craft public policy

 14      that helps prevent those kinds of things from

 15      happening, and I think it's very important.

 16                        I've testified in cases that were

 17      decided by very narrow margins.                       There was one

 18      that was decided by 67 votes, there was one that

 19      was decided by 9 votes, there was one that was

 20      decided by 2 votes, and I've seen candidates have

 21      to come out of pocket to the tune of tens of

 22      thousands of dollars, on up into even six figures



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                                                                           Page 182
   1     sometimes, trying to get a fair election because

   2     of issues that happened sometimes due to

   3     incompetent elections officials that didn't manage

   4     their election properly, sometimes due to

   5     residency issues of some sort, sometimes due to

   6     double voting, due to any number of different

   7     issues that can occur.

   8                       And like I said, in all the cases that

   9     I've ever been involved in and all the times I've

 10      seen people take the stand and admit to violating

 11      the law, I don't see much actually done about it.

 12                        And until these issues reach such a

 13      scale, as they did recently, I didn't see a whole

 14      lot of interest from elected officials in trying

 15      to get those issues resolved.

 16                        And even the new elections bill that

 17      was passed, I didn't see anything in there that

 18      would adequately address preventing these kinds of

 19      residency issues from occurring, and I think it's

 20      important that we recognize that they do occur,

 21      and that our elected officials take steps to

 22      address them and try to help clean up the problem



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                                                                           Page 183
   1     because they affect way too many races.

   2                       In this particular circumstance, these

   3     kinds of problems happen in every single county in

   4     the state, these kinds of issues happen in every

   5     house district, every senate district, every

   6     congressional district.                 Virtually, any election

   7     district you can name had issues like this

   8     happening.        If that's not systemic irregularities,

   9     I'd invite somebody to tell me what is.

 10                Q       If someone registers as -- say in

 11      Georgia, if they're registered at a Georgia

 12      address, but they're temporarily out of state

 13      serving in the military.                  Is it your testimony

 14      that they are still legally able to vote in

 15      Georgia?

 16                A       Yes.

 17                Q       Okay.       Assuming they have not

 18      registered at a UPS store, that their voting

 19      address is not a UPS store --

 20                A       Correct.         Even if somebody is serving

 21      a tour of duty or they're off at college and it's

 22      temporary, they should be registered at their



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                                                                           Page 184
   1     residential address, what they consider to be

   2     their residence.

   3               Q       Do you view a person in a situation

   4     like that, serving in the military somewhere else

   5     that's properly registered and able to vote, as

   6     analogous to someone who -- to a registration

   7     that's at a UPS store, a voter registration?

   8               A       No.

   9               Q       Okay.

 10                A       Not unless they're registered at one,

 11      but no.

 12                Q       Okay.       Can you think of any objective

 13      reason why a post from somebody who discussed this

 14      issue of people who registered to vote at a

 15      UPS store, which is not according to law, but

 16      who -- you know, a person who was serving in the

 17      military and who was legally allowed to vote in

 18      Georgia, can you think of any objective reason why

 19      that military person would be intimidated by this

 20      post regarding this issue of people registering at

 21      UPS stores?

 22                A       If they're not registered at a



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                                                                           Page 185
   1     UPS store, I don't know why they would be

   2     intimidated.

   3                       Now, somebody who is registered at a

   4     UPS store I hope would learn that that's not

   5     proper and take immediate steps to correct their

   6     registration.

   7               Q       Okay.       Was it ever in anything that

   8     you did with this data analysis, either you, in

   9     connection with -- you and Derek Somerville, was

 10      it ever your intention to intimidate somebody that

 11      was legally able to vote in Georgia --

 12                A       Not at all.

 13                Q       -- to prevent them from doing that?

 14                A       Not at all.

 15                Q       Okay.       Did you ever in your data

 16      analysis take into account someone's race?

 17                A       No, that was not part of it, and it's

 18      pretty easy to demonstrate.                    And if you want, I'll

 19      walk how to do that, in case Fair Fight would like

 20      to follow along.            I'd be happy to demonstrate

 21      that.

 22                Q       Why don't you do that.



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                                                                           Page 186
   1               A       Okay.       So you have the databases that

   2     I gave you for discovery, you have files M voter

   3     1, 2 and 3.         In those files, there's a field

   4     called DLV_Code.            If you run a count of the ones

   5     with an M in that field, your count will come up

   6     to over 600,000.

   7                       But if you then exclude any changes of

   8     address with a Move Effective Date in October of

   9     2020 or November of 2020, then you're going to

 10      drop down to the same count that you see in the

 11      data file called "Moved."

 12                        And then in the data file called

 13      "Moved," if you go through there and count the

 14      records where the COA state equals Georgia, and

 15      the county name field does not equal the new

 16      county field, and the new county field is not

 17      blank, and the voted field is not empty, then you

 18      will come out with almost the same count as the --

 19      oh, and it's not a P.O. box -- well, let me back

 20      up.    Strike that last part.                  Leave the P.O. Boxes

 21      in for now, you'll come up with a count that's

 22      virtually identical to the file called "Issues."



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                                                                           Page 187
   1                       Now, I subsequently removed the

   2     P.O. Boxes, and that dropped the count down to

   3     around 35,000.          So it's not difficult to

   4     demonstrate that there were no partisan influences

   5     or racial influences on the selection criteria.

   6                       And I went so far with the challenge

   7     data, after it was cast in stone and the challenge

   8     efforts had concluded and all of that, I took the

   9     certified copy of the qualified list of electors

 10      for the runoff election, and I actually did a

 11      query by race, and then I compared it to a query

 12      by race that I did on the challenge list, and the

 13      percentages -- the racial percentages in the

 14      challenge list differed very little from the

 15      racial percentages in the qualified list of

 16      electors that were able to vote in the runoff in

 17      total.

 18                        So I don't think it's very difficult

 19      to show that there were not any racial or partisan

 20      motivations for the challenge.                       There were

 21      Republicans challenged, there were Democrats

 22      challenged, there were people of all the different



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                                                                           Page 188
   1     racial codes that were challenged.

   2                       The criteria was objective, and none

   3     of that was involved, despite the claims that have

   4     been made to the contrary.

   5               Q       If 100% of the people -- speaking as a

   6     citizen, if 100% of the people in Georgia who are

   7     legally able to vote, whether they be serving in

   8     the military somewhere else or students somewhere

   9     else or voting properly in the district they're

 10      registered in, let's just assume 100% of the

 11      people who are registered to vote correctly do so,

 12      so you have 100% turnout, would you have any

 13      problem at all with 100% of the people who are

 14      legally allowed to vote in Georgia voting?

 15                A       If they do it lawfully, I don't have

 16      an issue with it.             I'd love to see it.

 17                Q       What if -- if that happened, would you

 18      have a problem with it if that resulted in

 19      whatever your political preferences are never

 20      winning another election?

 21                A       No, that actually is a fair fight.

 22                Q       I'm just making sure I don't have any



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                                                                                 Page 189
   1     other questions.

   2                       I don't have any other questions.

   3                       MS. MENG:          So I just have a few

   4     follow-ups for you, Mr. Davis.

   5     FURTHER EXAMINATION BY COUNSEL FOR THE PLAINTIFFS

   6                       BY MS. MENG:

   7               Q       Working backwards here, so you just

   8     spoke about having run a query on the challenge

   9     list based on race, right?

 10                A       After the fact, correct.                        Not when it

 11      was being created.             There was no racial or

 12      partisan data used to create the list.

 13                Q       Okay.       And what prompted you to do the

 14      analysis after the fact?

 15                A       Well, reading your Complaint and all

 16      the talk about the KKK and all of this stuff, it

 17      sure came across like you were trying to make the

 18      claim that there was some sort of racial

 19      motivation to it all, and the data disproves that

 20      pretty frankly, pretty solidly.

 21                        You know, if I profiled the entirety

 22      of the qualified list of electors for the runoff



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                                                                            Page 190
   1     election by race and calculate those percentages,

   2     and I do the same for the challenge list, there's

   3     not much difference between them.

   4               Q       Okay.        And you had testified that

   5     there was no racial disparities in the challenge

   6     lists.        If there were racial disparities in other

   7     challenge lists, what would your reaction be to

   8     that analysis?

   9               A       Well, correlation is not causation.

 10      If it were, we would all know that a lack of

 11      pirates causes global warming, so I'd want to know

 12      why there was a disparity.

 13                        But the fact that the racial makeup of

 14      the challenge database and the racial makeup of

 15      the voting list in general for the runoff differs

 16      so little seems to indicate that there was no

 17      racial or partisan motivation used in creating the

 18      challenge lists, so that's why --

 19                Q       So when -- oh, sorry, go ahead.

 20                A       That's why I did that comparison.                  And

 21      that was done just recently, long after the

 22      challenge from December of 2020.



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                                                                              Page 191
   1               Q       And so just to clarify, the queries

   2     that you did on race, what specifically was the

   3     challenge list you conducted that analysis on?

   4               A       You have a copy of it.                    It was

   5     disclosed recently in the request for production.

   6               Q       So I --

   7               A       I don't believe -- excuse me?

   8               Q       Sorry.       So I was clarifying, the

   9     analysis was done on the challenge lists that you

 10      and Mr. Somerville had worked on, correct?

 11                A       Correct.

 12                Q       Because I know there's multiple

 13      challenges, okay.

 14                A       So, yes, based on the challenge that

 15      we did, the racial makeup of the challenge closely

 16      reflects the racial makeup of the qualified list

 17      of electors for the primary runoff election in

 18      general.

 19                Q       Okay.       And so putting aside your

 20      challenge lists that you worked on personally, if

 21      there were racial disparities that were identified

 22      in other challenge lists, what would your reaction



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                                                                             Page 192
   1     have been to what that would indicate?

   2               A       I'd be interested in finding out

   3     why -- well, first of all, how much of a racial

   4     disparity is there?              And are there any organic

   5     causes for the racial disparity that aren't being

   6     taken into account?

   7                       As I said, correlation doesn't

   8     necessarily prove causation, but the fact that the

   9     data indicates that our challenge had very, very

 10      little racial disparity when compared to the

 11      overall voter list indicates that there was no

 12      racial motivation in the creation of the list,

 13      despite some of the rhetoric that's been used.

 14                Q       Sure.       So again putting aside your

 15      challenge specifically, would it have been a cause

 16      for concern if you had identified or if there were

 17      identified racial disparities in challenge lists

 18      that were not yours?

 19                A       I think I've already answered that.

 20      I'd want to know what underlying factors there

 21      were that may have caused that.                       Is there an

 22      organic reason why that may have been the case?



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                                                                           Page 193
   1               Q       Sure.       So I believe you're answering

   2     the question of what might have motivated that

   3     change, but is it a cause for concern that that

   4     disparity exists?

   5               A       Well, if we were to learn that --

   6     for example, if we were to learn that

   7     more African-Americans moved from one county to

   8     another, that would explain why there was more on

   9     the list, would it not?

 10                Q       Right.       So putting aside whatever the

 11      explanations could be for the reasons --

 12                A       How could you --

 13                Q       Mr. Davis, I'm just asking for you to

 14      answer the question of whether or not the

 15      identification of a racial disparity would be a

 16      cause for concern, putting aside whatever might

 17      explain that disparity?

 18                A       Why would I put aside whatever might

 19      explain the disparity?                 If I saw a disparity, I'd

 20      want to know why that disparity was there, but

 21      again, it's as simple as this: if more

 22      African-Americans move from County A to County B,



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                                                                             Page 194
   1     that right there alone would explain any

   2     disparity.        But in the challenge list that I did,

   3     I'm not seeing much difference, very little.

   4               Q       So again, I just want to ask because I

   5     don't believe you're answering the question here.

   6                       If you saw a disparity in a challenge

   7     list, would that be a cause of concern for you

   8     about the composition of that challenge list?

   9               A       As I said, I would want to know what

 10      caused it.

 11                Q       So I move to strike Mr. Davis's answer

 12      as nonresponsive to the question.

 13                        MS. SIEBERT:            I object to that.         He

 14      responded.

 15                        BY MS. MENG:

 16                Q       So Mr. Davis, you stated that you

 17      would want -- you know, if you saw that disparity,

 18      you would want to take a look at what might cause

 19      that.

 20                        What's the reasons for why you would

 21      want to take a closer look at that?

 22                A       It seems obvious to me.                    If you're



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                                                                           Page 195
   1     talking about a list of people who move from

   2     County A to County B more than 30 days before the

   3     election, but traveled back to their old county to

   4     cast ballots, then if more African-Americans or

   5     more Latinos, or whatever racial classification

   6     we're talking about, if more of those folks

   7     actually filed changes of address and actually

   8     moved, that right there explains any disparity,

   9     does it not?

 10                Q       But Mr. Davis, you believe it would be

 11      relevant that there's a disparity noted in that

 12      analysis, correct?

 13                        Or phrased another way, you stated

 14      that the challenges and query that you did on race

 15      for your challenges did not result in a disparity,

 16      but if that same query was run on a challenge list

 17      that did reveal disparities, would that be

 18      something that would raise a red flag to you?

 19                A       I've tried to get this question

 20      answered in a way that will come across, so let me

 21      try it a different way.

 22                        If 28% of the folks who moved from



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                                                                             Page 196
   1     County A to County B more than 30 days before the

   2     election, but returned to their old county to

   3     ballots, if 28% of those folks were

   4     African-American, I would expect to see 28% of

   5     those folks on the challenge list.                          Those numbers

   6     should be reflective of one another.

   7                       I don't think there's any need to

   8     complicate this any farther than that.

   9               Q       Okay.       And so just to clarify, if you

 10      saw a disparity, you would not ignore the

 11      disparity, correct?              You would examine it further?

 12      That's a simple question.

 13                A       Yes.

 14                Q       Okay, thank you.

 15                        So Ms. Siebert had previously asked

 16      about military voters or UOCAVA voters on the

 17      challenge lists, and your intention as it relates

 18      to challenge lists, and you I believe testified

 19      that it was never your intention, you know,

 20      especially with respect to the Facebook post, that

 21      those voters would choose not to vote if they saw

 22      your post.



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                                                                             Page 197
   1                       Did you at any point hope that those

   2     who you believe would be ineligible to vote would

   3     take notice of a post similar to the one that you

   4     and Mr. Somerville were posting about and think

   5     twice about voting?

   6               A       Well, to clarify, any UOCAVA voters on

   7     the absentee voter file were removed from the

   8     challenge, so they're not in there.                          Those are

   9     easy to identify.

 10                        Just set a relation between the voter

 11      database and the absentee voter file based on

 12      registration number, and if they're a UOCAVA

 13      voter, go ahead and remove them from the

 14      challenge.

 15                        I wish identifying all members of the

 16      military were so simple, but it's not,

 17      unfortunately.

 18                        But to answer your question, I didn't

 19      intend for any information we shared with the

 20      public to intimidate any lawful voter from casting

 21      a ballot.       Voters that may be having a

 22      registration at a UPS store, if those posts caused



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                                                                           Page 198
   1     them to become aware that the law doesn't permit

   2     you to do that, I view that as a good thing and as

   3     a service to the community.

   4                       I don't understand why the Secretary

   5     of State's office hasn't reached out to all these

   6     voters to explain to them why they need to be

   7     registered at their actual residence address

   8     rather than a UPS store.

   9                       And having the knowledge that people

 10      can come from miles to get to a UPS store,

 11      you know, if their registration is based on the

 12      address of that UPS store, they may not even be

 13      properly districted into their correct voting

 14      districts and may not be voting for the right

 15      candidates for office at all.

 16                Q       So I move to strike Mr. Davis's

 17      response as nonresponsive to the question, and I

 18      can repeat my question so that you can answer it,

 19      which is that of those voters on the challenge

 20      lists that you believe to be ineligible based on

 21      your analysis, was it ever your intent that a post

 22      like yours would make those ineligible voters



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                                                                           Page 199
   1     think twice about voting, the ones that you had

   2     deemed to be ineligible?

   3               A       If a voter knows they're ineligible to

   4     cast a lawful ballot, perhaps they should think

   5     twice about violating the law.

   6                       But if a voter is properly registered,

   7     there's no reason for any voter to be intimidated

   8     by a post talking about people who aren't.

   9               Q       So Mr. Davis, I want to again move to

 10      strike your answer as nonresponsive and ask you to

 11      answer the simple question that was it your intent

 12      in making the Facebook post to make voters think

 13      twice about voting based on whether or not you

 14      thought they were ineligible?

 15                A       I don't seek to intimidate any lawful

 16      voter, period.          If you consider that an invalid

 17      response to that question, I don't know what else

 18      to say.

 19                        Voters that knowingly cast ballots

 20      unlawfully should be concerned.                       I don't know what

 21      else to tell you there.

 22                Q       So did you want ineligible voters to



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                                                                           Page 200
   1     think that they should be concerned and think

   2     twice before voting?

   3               A       If a voter is knowingly ineligible, if

   4     they know that they live in a county other than

   5     the one they intend to travel to to cast an

   6     unlawful ballot, perhaps they should be

   7     intimidated, because if they go and lie to those

   8     elections officials, they're arguably committing a

   9     felony.

 10                Q       And so was it your hope that for those

 11      voters that you just mentioned, when they saw your

 12      post, they would think twice about voting?

 13                A       My hope was if they plan on voting

 14      unlawfully in a county they know they don't live

 15      in by giving a false address to elections

 16      officials, they should be concerned about that.

 17                Q       And so was that your goal in writing

 18      the Facebook post that we reviewed today?

 19                A       My goal with a lot of the Facebook

 20      posts that we've discussed is simply to educate

 21      folks on the issues that are going out in our

 22      voter rolls.



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                                                                           Page 201
   1                       Our voter rolls are mismanaged, they

   2     contain a lot of faulty registrations, and there's

   3     a lot of issues going on in this state with voting

   4     that people need to be aware of.

   5                       My goal primarily was to help educate

   6     the public on those issues, and hopefully effect

   7     some change and some public policy reforms to help

   8     correct a lot of those issues.

   9               Q       So who would you say was the target

 10      audience of those Facebook posts?

 11                A       Primarily voters that are concerned

 12      with election integrity.

 13                Q       Okay.       And so Mr. Davis, earlier when

 14      Ms. Siebert was asking you a few questions, you

 15      had mentioned that -- you I believe were

 16      discussing voter names that were handed over to

 17      the Secretary of State for certain investigations.

 18                        Do you recall that discussion?

 19                A       I do.

 20                Q       Okay.       And I believe you had mentioned

 21      that a little more than 10,000, I think you had

 22      stated ten thousand three hundred thousand [sic]



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                                                                           Page 202
   1     names out of about 500,000 you had handed over to

   2     the Secretary of State, correct?

   3               A       No.     You have a copy of that database.

   4     It's maybe 100 or 200 shy of 35,000.

   5                       So of the folks that have since

   6     updated their own addresses to the same address

   7     they gave to the Post Office, that's approximately

   8     a third or so of those voters.

   9               Q       Sorry, a third of which set of voters?

 10                A       In your Requests for Production of

 11      Documents, there's a folder -- or at least there

 12      was, I don't know what form you received it in --

 13      but there was a folder called "SoS Investigation,"

 14      and in that folder is a copy of the data that went

 15      to the Secretary of State's office.

 16                        About a third of those folks, they'll

 17      have a -- I believe it's a "Y" in the field called

 18      "Confirmed," which means they have confirmed their

 19      NCOA information by updating their own

 20      registration to the same exact address they gave

 21      the Post Office when they moved.

 22                Q       And so I apologize I don't have the



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                                                                              Page 203
   1     dataset in front of me, but how many names were on

   2     that big list that you're referring to?

   3               A       I'd have to look to get you the exact

   4     count, but it was maybe 100 or 200 records shy of

   5     35,000, if memory serves me.

   6                       We're not talking about 500,000

   7     records here at all.               We're talking about 34,800

   8     or so, somewhere in that range.                       I don't remember

   9     the exact number.

 10                Q       Okay.       And so of those records, it's

 11      your view that all of them should have been

 12      investigated; is that correct?

 13                A       I would like to see the Secretary of

 14      State investigate all of those records.                           No doubt

 15      there will be some long-term temporary moves in

 16      there, and when they do their NCOA run and they

 17      subsequently mail people to investigate their

 18      changes of address, they should receive

 19      information that would be very helpful in that

 20      investigation.

 21                        Last I heard, they went through that

 22      process on or about November the 8th of just this



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                                                                             Page 204
   1     last year.        In other words, a couple months back,

   2     they went through that process.                       So by now, they

   3     will have received a great deal of information on

   4     that entire database.

   5                       There will be people that will confirm

   6     their changes of address; there will be people who

   7     say, no, I moved temporarily, I still reside at

   8     the address that I'm registered at; there will be

   9     people who don't respond; there will be returned

 10      mail; there will likely be a whole bunch of those

 11      voters who end up on inactive status for failing

 12      to respond at all.

 13                        So the Secretary of State's office

 14      apparently has recently gone through that entire

 15      adjudication process, and all that information

 16      that they collected should be enormously

 17      beneficial to them in that investigation, assuming

 18      that they're actually interested in pursuing that

 19      investigation.          I kind of doubt it.                  We will see,

 20      but it seems like our Secretary of State is far

 21      more interested in getting himself re-elected than

 22      he is in pursuing that investigation with



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                                                                           Page 205
   1     integrity.

   2               Q       If you guys will give me just one

   3     minute to make sure I don't have any other

   4     questions.

   5                       (Pause in the proceedings.)

   6                       BY MS. MENG:

   7               Q       So Mr. Davis, based on the information

   8     that you have, would you be able to say that 99%

   9     of those voters that you were just referring to

 10      are ineligible to vote?

 11                A       Well, no.          As I just said, about a

 12      third of them have since updated their

 13      registration to where they actually do live, so at

 14      least a third of them, in theory, should be

 15      completely eligible to vote now.

 16                        But if you're asking about were they

 17      when the general election took place, that's not

 18      really a knowable number; that's what

 19      investigations are for.                 But I would say that a

 20      large number of those voters probably did travel

 21      back to their old counties to cast their ballots.

 22                        We've got over 10,000, like I said,



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                                                                           Page 206
   1     who have since updated their addresses to the same

   2     one they gave the Post Office when they moved

   3     originally, so their address information on their

   4     NCOA was correct.             If their Move Effective Date is

   5     also correct, that's pretty solid corroborating

   6     evidence that they need to be investigated for

   7     whether or not they cast a lawful ballot in an

   8     election.

   9                       As far as what the total number that

 10      the Secretary of State may deem to have been

 11      improper or irregular or illegal or what have you,

 12      I don't know.          I mean, that's for them to

 13      determine.        I've given them the information to

 14      investigate.

 15                        I hope they take it serious, and I

 16      hope that they actually conduct that investigation

 17      and don't leave it for whoever Brad's successor is

 18      to do, but, obviously, I don't have any control

 19      over that.

 20                Q       Okay.       So putting aside the about

 21      10,000 voters that have updated their registration

 22      now, would you ever represent to the public the



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                                                                           Page 207
   1     original list before that, before those

   2     registrations were confirmed, would you ever

   3     represent to the public that 99% of them are

   4     ineligible to vote -- sorry, 99% of them were

   5     ineligible to vote?

   6               A       When I speak about that database, I

   7     use the term "residency issues" to describe

   8     concerns about their residency.                       I don't make any

   9     claim that even one individual voter on that list

 10      voted illegally.            That's not for me to determine;

 11      that's up to our elections officials.

 12                        So I try to be really clear on the

 13      language that I use when I refer to those folks.

 14      I would not ever allege that 99% of them voted

 15      illegally.        That's not for me to determine, that's

 16      not something that I have any way of knowing for

 17      sure.

 18                        That is something that an

 19      investigation can reveal, assuming the

 20      investigation is actually done.

 21                Q       So would you say that of -- that the

 22      state is really the only body there that has the



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                                                                             Page 208
   1     ability to confirm whether or not voters are

   2     eligible to vote?

   3               A       I've had attorneys tell me that if a

   4     subsection of that list for a particular county

   5     were handed off to a district attorney, it could

   6     be presented to a grand jury.                      But other than

   7     that, I would say either local officials or the

   8     Secretary of State's office would be the

   9     appropriate venue to investigate.

 10                        I'm aware that following the 2020

 11      election, there were so many issues that needed to

 12      be investigated, the GBI was called into it.

 13      Since this investigation is as large as it is, I

 14      would welcome that to happen, again, if they were

 15      interested enough in it to do that.                          But other

 16      than that, that's for you lawyers and law

 17      enforcement folks to argue over.

 18                        I've done my part in presenting the

 19      investigation to the Secretary of State's office,

 20      and I gave them the voters that I think warrant

 21      investigation.          Beyond that, I don't really care

 22      to speculate about what percentage were or were



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                                                                             Page 209
   1     not legal and all of that kind of stuff.                          That's

   2     not for me to determine.

   3               Q       And just to clarify, what's your

   4     concern or why are you careful about avoiding any

   5     statements about what specific percentage of

   6     voters might be eligible or ineligible to vote?

   7               A       Well, as I've said several times

   8     repeatedly, we don't know how many of those folks

   9     were long-term temporary changes of address.

 10      That's not something that's knowable.

 11                        I wish that the National Change of

 12      Address process would be reformed so that a person

 13      could file a temporary change of address that is

 14      long term, the same way they do with a permanent

 15      change of address.             That would be enormously

 16      helpful.       Or even better, if they could file a

 17      temporary change of address with a beginning and

 18      ending date, that would be very helpful.

 19                        You know, we get the Move Effective

 20      Date.     If it were a temporary change of address

 21      and we could be provided with an end date for that

 22      temporary change of address, that would be helpful



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                                                                           Page 210
   1     as well.

   2                       I think there's a lot of policy

   3     changes that could be made that would be very

   4     helpful in keeping our voter rolls clean,

   5     including a national registry, such as the

   6     ERIC system, if all states were mandated to

   7     participate.

   8                       I think there's a lot that we can do

   9     to reform the process.

 10                Q       Okay, I think those are all the

 11      questions I had.            Thank you, Mr. Davis.

 12                A       Thank you.           I appreciate the pleasant

 13      exchange.

 14                        THE VIDEOGRAPHER:                This concludes the

 15      deposition of Mr. Mark Davis.                      The time is

 16      2:10 p.m.

 17                        (Whereupon, at 2:10 p.m., the taking

 18                          of the deposition was concluded.

 19                          Reading and signature were RESERVED.)

 20

 21

 22



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                                                                           Page 211
   1                     CERTIFICATE OF NOTARY PUBLIC
   2            I, DAWN A. JAQUES, a Notary Public in and for
         the Commonwealth of Virginia, before whom the
   3     foregoing deposition was taken, do hereby certify
         that witness whose testimony appears in the
   4     foregoing pages was duly sworn by me; that the
         testimony of said witness was taken by me in
   5     shorthand at the time and place mentioned in the
         caption hereof and thereafter reduced to typewriting
   6     under my supervision; that said deposition is a true
         record of the testimony given by said witness; that
   7     I am neither counsel for, related to, nor employed
         by any of the parties to the action in which this
   8     deposition is taken; and, further, that I am not a
         relative or employee of any attorney or counsel
   9     employed by the parties thereto, nor financially or
         otherwise interested in the outcome of the actions.
 10
 11
 12
 13
 14
 15
 16                                             _________________________
 17                                             Dawn A. Jaques, CSR, CLR
 18                                             Notary Public in and for
 19                                             Commonwealth of Virginia
 20      My commission expires:
 21      August 31, 2023
 22      Registration No. 132328


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                                                                           Page 212
  1           Mark A. Davis, c/o

              THE BOPP LAW FIRM

  2           1 South Sixth Street

              Terre Haute, Indiana         47807-3510

  3

  4           Case: Fair Fight, Inc. et al. v. True the Vote, et al.

              Date of deposition: January 19, 2022

  5           Deponent: Mark A. Davis

  6

  7           Please be advised that the transcript in the above

  8           referenced matter is now complete and ready for signature.

  9           The deponent may come to this office to sign the transcript,

 10           a copy may be purchased for the witness to review and sign,

 11           or the deponent and/or counsel may waive the option of

 12           signing. Please advise us of the option selected.

 13           Please forward the errata sheet and the original signed

 14           signature page to counsel noticing the deposition, noting the

 15           applicable time period allowed for such by the governing

              Rules of Procedure. If you have any questions, please do

 16           not hesitate to call our office at (202)-232-0646.

 17

 18

 19           Sincerely,

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 21           Copying is forbidden, including electronically, absent

 22           express written consent.



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                                                                              Page 213
  1             Digital Evidence Group, L.L.C.
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  2             Washington, D.C. 20036
                (202) 232-0646
  3
  4             SIGNATURE PAGE
                Case: Fair Fight, Inc. et al. v. True the Vote, et al.
  5             Witness Name: Mark A. Davis
                Deposition Date: January 19, 2022
  6
  7             I do hereby acknowledge that I have read
                and examined the foregoing pages
  8             of the transcript of my deposition and that:
  9
 10             (Check appropriate box):
                (    ) The same is a true, correct and
 11             complete transcription of the answers given by
                me to the questions therein recorded.
 12             (   ) Except for the changes noted in the
                attached Errata Sheet, the same is a true,
 13             correct and complete transcription of the
                answers given by me to the questions therein
 14             recorded.
 15
 16
 17
 18             _____________                        _________________________
 19                 DATE                                WITNESS SIGNATURE
 20
 21             _____________                        __________________________
 22                 DATE                                      NOTARY



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  6                                          ERRATA SHEET

  7

  8             Case: Fair Fight, Inc. et al. v. True the Vote, et al.

  9             Witness Name: Mark A. Davis

 10             Deposition Date: January 19, 2022

 11             Page No.        Line No.              Change

 12

 13

 14

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 19

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 21            ___________________________                         _____________

 22            Signature                                              Date



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